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                              IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                           CASE MANAGEMENT TRACK DESIGNATION FORM

Brent Morgan                                     :           CIVIL ACTION
                                                 :           NO.
                      v.                         :
                                                 :
Arion Capital Management, LLC                    :
                and                              :
Larry Frascella                                  :

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the
reverse side of this form.) In the event that a defendant does not agree with the plaintiff regarding
said designation, that defendant shall, with its first appearance, submit to the clerk of court and
serve on the plaintiff and all other parties, a Case Management Track Designation Form specifying
the track to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus – Cases brought under 28 U.S.C. § 2241 through § 2255.                             ( )

(b) Social Security – Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                   ( )

(c) Arbitration – Cases required to be designated for arbitration under Local Civil Rule 53.2.       ( )

(d) Asbestos – Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                            ( )

(e) Special Management – Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)                                                                               ( )

(f) Standard Management – Cases that do not fall into any one of the other tracks.                   (x)


August 10, 2021                Michael J. Salmanson                                              _
Date                              Attorney-at-law                    Attorney for Plaintiff

215-640-0593                  215-640-0596                         msalmans@salmangold.com
Telephone                         FAX Number                        E-Mail Address



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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BRENT MORGAN                  :
                              :             Civil Action No.
      Plaintiff               :
                              :
      v.                      :
                              :
ARION CAPITAL                 :
MANAGEMENT, LLC               :
                              :
      And                     :
                              :
LARRY FRASCELLA               :
                              :
      And                     :
                              :
JOHN DOES 1-10                :
                              :
      Defendants              :
______________________________:

                                        COMPLAINT

       Plaintiff, Brent Morgan, brings this action against Defendants, Arion Capital

Management, LLC, Larry Frascella, and John Does 1-10, and avers as follows:

                                   NATURE OF ACTION


       1.     This case arises out of Defendants’ failure to pay Plaintiff the severance required

by Plaintiff’s employment agreement after his termination on January 28, 2019 in violation of

that employment agreement and the Pennsylvania Wage Payment and Collection Law, 43 P.S. §

260.1, et seq. (“WPCL”).

                                          PARTIES


       2.     Plaintiff, Brent Morgan (“Mr. Morgan”), is an individual residing in Arizona.




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       3.     Defendant Arion Capital Management, LLC (“Arion”) is a Delaware Limited

Liability Company with its principal place of business in Bensalem, Pennsylvania.

       4.     At all times relevant to the claims set forth within, Arion was Mr. Morgan’s

“employer” within the meaning of the WPCL.

       5.     Plaintiff was employed by Arion from February 14, 2017 until his termination on

January 31, 2019.

       6.     Arion is a consulting company that makes recommendations on sports wagering

based on predictive models.

       7.     At all times relevant to the claims set forth within, Defendant Larry Frascella

(“Mr. Frascella”) was the Managing Member of Arion.

       8.     Mr. Frascella was a principal decision maker, policymaker, and agent of Arion as

related to Mr. Morgan’s wages, and specifically related to Arion’s failure to pay Mr. Morgan

severance.

       9.     Therefore, Mr. Frascella was Mr. Morgan’s “employer” within the meaning of the

WPCL.

       10.    Upon information and belief, one of more individuals, John Does 1-10, were also

principal decision makers, policymakers, and agents of Arion as related to Mr. Morgan’s wages;

therefore Mr. Morgan’s employer under the WPCL.

                              JURISDICATION AND VENUE


       11.    This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1332(a)(1). The parties are citizens of different States and the amount in controversy exceeds

$75,000.




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        12.     This Court has jurisdiction over Defendants because all or a substantial portion of

its actions and omissions giving rise to this lawsuit occurred in this District.

        13.     This Court has personal jurisdiction over Defendant Arion because its principal

place of business is located in this District.

        14.     This Court has personal jurisdiction over Mr. Frascella because he resides in this

District.

        15.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2), because a

substantial part or all of the events and omissions giving rise to Plaintiff’s claims occurred within

this district. Alternately, venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(1),

because all Defendants reside in this District.

                                                 FACTS


        16.     Arion and Mr. Morgan entered into an employment agreement (“Employment

Agreement”) dated February 14, 2017, which governs the terms and conditions of Mr. Morgan’s

employment. A true and correct copy of the Employment Agreement is attached hereto as Exhibit 1.

        17.     Mr. Frascella signed the Employment Agreement on behalf of Arion.

        18.     The Employment Agreement references Arion’s operating agreement (“Operating

Agreement”) and adopts certain definitions in the Operating Agreement, including but not limited to,

termination for “Cause”. A true and correct copy of the Operating Agreement is attached hereto as

Exhibit 2.

        19.     Pursuant to the Employment Agreement, Mr. Morgan’s Base Salary was

$150,000 per year. See Exhibit 1, Section 5(a).




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        20.     Also pursuant to the Employment Agreement, Mr. Morgan is entitled to severance

equal to his Base Salary if he is terminated “without Cause (as defined in the Operating

Agreement)”. See Exhibit 1, Section 5(c).

        21.     The Operating Agreement states:

                "Cause" means the occurrence of any of the following events, as reasonably
                determined by the Board of Managers of the Company: (i) the failure to perform
                such duties as are reasonably requested in good faith by the Board of Managers;
                (ii) gross negligence, recklessness or willful misconduct in the performance of
                duties; (iii) an act of dishonest, fraudulent or illegal conduct; (iv) the breach, by
                Mr. Morgan, of that certain Employment Agreement by and between the
                Company and Mr. Morgan, dated as of the date hereof; (v) the commission of
                violations of Company policy including, but not limited to, policies on equal
                employment opportunity, non-discrimination, non-harassment, non-retaliation,
                and workplace violence; and (vi) the commission of violations of state or federal
                law or regulation in the performance of his duties to the Company.

                See Exhibit 2, Section 7.6(b).

        22.     Arion terminated Mr. Morgan by letter (“Termination Letter”) dated January 28,

2019, with an effective termination date of January 31, 2019. A true and correct copy of the

Termination Letter is attached hereto as Exhibit 3.

        23.     Mr. Frascella signed the Termination Letter on behalf of Arion.

        24.     The Termination Letter states that Mr. Morgan’s “employment with Arion Capital

Management LLC ("Arion") will be officially terminated for cause on January 31, 2019,

specifically because the company failed to reach the agreed upon benchmarks contained in the

operating agreement to which you are a signatory.” See Exhibit 3.

        25.     However, the definition of “Cause” does not include the company’s failure to

meet benchmarks or any reference to benchmarks whatsoever. See Exhibit 2, Section 7.6(b).




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        26.    The Termination Letter relied on only one provision in the definition of Cause,

Section 7.6(b)(i), which reads, “the failure to perform such duties as are reasonably requested in

good faith by the Board of Managers”.

        27.    The Termination Letter did not contend that Mr. Morgan was terminated for

“gross negligence, recklessness or willful misconduct in the performance of duties;” Section

7.6(b)(ii).

        28.    The Termination Letter did not contend that Mr. Morgan was terminated for “an

act of dishonest, fraudulent or illegal conduct;” Section 7.6(b)(iii).

        29.    The Termination Letter did not contend that Mr. Morgan was terminated for “the

breach, by Mr. Morgan, of that certain Employment Agreement by and between the Company

and Mr. Morgan, dated as of the date hereof;” Section 7.6(b)(iv).

        30.    The Termination Letter did not contend that Mr. Morgan was terminated for “the

commission of violations of Company policy including, but not limited to, policies on equal

employment opportunity, non-discrimination, non-harassment, non-retaliation, and workplace

violence;” Section 7.6(b)(v).

        31.    The Termination Letter did not contend that Mr. Morgan was terminated for “the

commission of violations of state or federal law or regulation in the performance of his duties to

the Company;” Section 7.6(b)(vi).

        32.    The only fact Arion relied on to invoke Section 7.6(b)(i) was that the company

was not meeting benchmarks.

        33.    However, Mr. Morgan’s job duties are set out in Attachment A to the

Employment Agreement and, again, do not include the company meeting benchmarks or any

reference to benchmarks whatsoever. See Exhibit 1, Attachment A.



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        34.       Mr. Morgan performed all job duties as requested by the Board of Managers to

the best of his ability.

        35.       The Board of Managers could not have reasonably determined that Mr. Morgan

met any of the criteria for termination with “Cause” as stated in the Operating Agreement,

Section 7.6(b).

        36.       Mr. Morgan, through his attorney, made a demand for the unpaid severance by

letter dated July 8, 2021 (“Demand Letter”). A true and correct copy of the Demand Letter is

attached hereto as Exhibit 4.

        37.       Mr. Frascella responded by email to Mr. Morgan’s attorney on July 16, 2021

(“Response to Demand”). A true and correct copy of the Response to Demand is attached hereto as

Exhibit 5.

        38.       In the Response to Demand, Mr. Frascella admitted that Arion has still not

developed a profitable model and that “no one that [Arion] have engaged with has been able to

produce a winning model.” See Exhibit 5.

        39.       In addition, Mr. Frascella admitted that Arion has “had no income. EVER.” See

Exhibit 5.

        40.       Thus, Arion has continually failed to meet its benchmarks despite replacing Mr.

Morgan over two years ago.

                                              COUNT I
                                          Breach of Contract
                                      (v. Defendant Arion only)

        41.       Plaintiff incorporates the preceding paragraphs as though fully set forth herein.

        42.       The Employment Agreement constitutes a contract that Arion offered to Mr.

Morgan and Mr. Morgan accepted.



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         43.    Mr. Morgan performed all duties according to the Employment Agreement.

         44.    The Board of Managers had no reasonable basis to terminate Mr. Morgan for

Cause.

         45.    Arion failed to pay Mr. Morgan the severance in the amount of his Base Salary,

$150,000, as required by the Employment Agreement.

         WHEREFORE Plaintiff seeks judgment in his favor, and against Defendant Arion, in the

form of the $150,000 severance due, together with such equitable and legal relief as the Court

determines is appropriate.


                                          COUNT II
                             PA Wage Payment and Collection Law
                                     (v. all Defendants)

         46.    Plaintiff incorporates the preceding paragraph as though fully set forth herein.

         47.    The severance payment required pursuant to the Employment Agreement

constitutes wages under the Pennsylvania Wage Payment and Collection Law (“WPCL”).

         48.    Mr. Morgan earned wages under the Employment Agreement, including the

severance payment to be paid upon his termination without Cause.

         49.    Mr. Morgan was terminated without Cause.

         50.    Without excuse or justification, Defendants willfully failed and refused to pay Mr.

Morgan the severance in the amount of his Base Salary, $150,000, as required by the

Employment Agreement.

         51.    Mr. Morgan has incurred lost wages, attorney’s fees and costs, and other damages

as a result of the actions of Defendants.




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       52.     Mr. Frascella and John Does 1-10 were the principal decision makers,

policymakers, and agents of Arion as related to Mr. Morgan’s wages, and therefore are

employers within the meaning of the WPCL.

       53.     In addition to Arion, Mr. Frascella and John Does 1-10 are personally and

individually liable for the unpaid wages under the WPCL.

       WHEREFORE, Plaintiff seeks judgment in his favor, and against Defendants, in the form

of the $150,000 severance due, prejudgment interest, 25% liquidated damages as provided under

the WPCL, and reasonable attorney’s fee and costs, together with such equitable and legal relief

as the Court determines is appropriate.



                                                       ________________________________
                                                       Michael J. Salmanson, ID. 46707
                                                       SALMANSON GOLDSHAW, P.C.
                                                       Two Penn Center, Suite 1230
                                                       1500 John F. Kennedy Boulevard
                                                       Philadelphia, PA 19102
                                                       215-640-0593
                                                       215-640-0596 (fax)
                                                       msalmans@salmangold.com
                                                       Attorney for Plaintiff




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            EMPLOYMENT AGREEMENT AND RESTRICTIVE COVENANTS
                              (AT WILL)


        This Employment Agreement ("Agreement") is effective as ofFebruary 14, 2017, by and
between Arion Capital Management LLC ("Company"), a Delaware limited liability company,
with its principal place ofbusiness located at 884 Town Center Drive, Langhorne, PA 19047,
and Brent Morgan, an individual residing at 6900 S. Sandpiper Ave., Tuscon, AZ 85746
("Employee").

        WHEREAS, Company desires to employ Employee on the terms and conditions set forth
in this Agreement; and

       WHEREAS, Employee is willing to render services to Company on the terms and
conditions set forth in this Agreement with respect to such employment; and

       WHEREAS, Company desires to protect its confidential and trade secret information and
to prevent unfair competition; and

      WHEREAS, capitalized terms not defmed herein shall have the meanings ascribed to
them under that certain Operating Agreement of the Company, dated as of the date hereof (the
"Operating Agreement"); and [Note: Assumes Operating Agreement will be dated same date
as Employment Agreement]

        NOW, THEREFORE, in consideration of the premises and the terms and conditions set
forth in this Agreement, Company and Employee hereby agree as follows:

       1.    Employment. Company hereby employs Employee and Employee hereby
accepts employment with Company upon the terms and conditions set forth in this Agreement.

        2.      Exclusive Services. Employee shall devote all working time, ability, and
attention to the business of Company during the term of this Agreement and shall not, directly or
indirectly, render any services to, or for the benefit of, any other business, corporation,
organization, or entity, whether for compensation or otherwise, without the prior knowledge and
written consent of Company' s Board of Managers.

        3.      Duties. Company hereby employs Employee as Director of Analytics of the
Company, in which position Employee shall perform for or on behalf of Company the duties set
forth on Schedule A attached hereto and such other duties as shall be assigned by the Company's
Board of Managers. Employee shall perform such duties in accordance with Company' s policies
and practices, including but not limited to its employment policies and practices, and subject
only to such limitations, instructions, directions, and control as the Company's Board of
Managers may specify from time to time at its discretion.

        4.      Term. This Agreement is not for any definite duration. Employee's employment
with Company is "at will" meaning that either Company or Employee may terminate the
relationship at any time as provided in Section 13.



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      5.     Compensation. As compensation for services rendered under this Agreement,
Employee shall receive the following:

               (a)    Base Salary. Company shall pay Employee a base salary ("Base Salary")
calculated as an annual rate of$150,000.00 per year, prorated for any partial employment period,
and payable in accordance with Company's regular payroll schedule, less applicable deductions
and withholdings, during the term of this Agreement. The Company may increase or decrease
Employee's Base Salary at any time in its reasonable discretion.

                (b)    Bonus. Employee has the opportunity to earn a bonus on the terms and
conditions set forth below:

                       (i)   If the Company realizes at least $5,000,000 in Net Income (as
defined in the Operating Agreement) during the eighteen-month period following the date the
Company begins live betting, then the Company shall issue to the Employee Class B
Membership Interests representing 1.0% of the Membership Interest of the Company at a
Benchmark Amount determined by the Board of Managers.

                      (ii)    If the Company realizes at least $10,000,000 in Net Income during
the 30-month period following the date the Company begins live betting, then the Company shall
issue to the Employee Class B Membership Interests representing 1.0% of the membership
Interests of the Company at a Benchmark Amount determined by the Board of Managers.

                      (iii)   If the Company realizes at least $25,000,000 in Net Income during
the 42-month period following the date the Company begins live betting, then the Company shall
issue to the Employee Class B Membership Interests representing 1.0% of the membership
Interests of the Company at a Benchmark Amount determined by the Board of Managers.

                      (iv)    If the Company realizes at least $50,000,000 in Net Income during
the 54-month period following the date the Company begins live betting, then the Company shall
issue to the Employee Class B Membership Interests representing 1.0% ofthe membership
Interests of the Company at a Benchmark Amount determined by the Board of Managers.

                       (v)     Employee is eligible to receive each of the foregoing bonus awards
set forth above in Section 5(b)(i)-(iv) once during the term of this Agreement, up to 4.0%
percentage interest of the Class B Membership Interests of the Company in aggregate.

               (c)    Severance. If Employee is terminated by Company without Cause (as
defmed in the Operating Agreement), the Company shall pay Employee as severance amount
equal to the Employee's Base Salary, which severance amount shall be payable over the 12-
month period after Employee's termination in equal amounts in accordance with the Company's
regular payroll schedule, less applicable deductions and withholdings.

       6.      Benefits. To the extent Company offers benefits, Employee shall be eligible for
such benefits as are generally available to other employees of Company.




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               (a)      Vacation. Employee shall be entitled to two weeks of vacation with full
salary and benefits each calendar year, accrued prorate on a monthly basis and prorated for any
partial calendar year. Employee may not accrue more than two weeks of vacation.

              (b)   All compensation paid under this Agreement shall be deemed to be
"guaranteed payments" under the Internal Revenue Code of 1986, as amended.

       7.     Reimbursement of Expenses. Company shall reimburse Employee for
reasonable business expenses necessarily incurred in the performance of his duties under this
Agreement in accordance with Company policy.

        8.      Confidentialitytrrade Secrets. Employee acknowledges his position with
Company is one ofthe highest trust and confidence, both by reason of his position and by reason
of his access to and contact with the trade secrets and confidential and/or proprietary information
of Company. Both during the term of this Agreement and thereafter, Employee therefore
covenants and agrees as follows:

                (a)     He shall use his best efforts and exercise utmost diligence to protect and to
safeguard the trade secrets and/or confidential and proprietary information of Company,
including, but not limited to, the identity of its current and/or prospective customers, suppliers,
vendors, its technical, fmancial, and marketing data, records, compilations of information,
processes, programs, methods, techniques, and specifications relating to its customers, suppliers,
vendors, and services (collectively, "Proprietary Information"), but Proprietary Information shall
not include information that (i) is or becomes part of the public domain other than as a result of
disclosure by Employee, (b) becomes available to Employee on a non-confidential basis from a
source other than Company, provided that such source has the lawful right to disclose such
information to Employee, or (c) was in Employee's possession prior to disclosure of the same by
Company.

              (b)     He shall not disclose any of Company's Proprietary Information, except as
may be required in the course of his employment with Company or by law; provided that if
Employee is required to disclose by law; he must give Company as much notice as possible to
ensure Company has the opportunity to protect its interests; and

               (c)     He shall not use, directly or indirectly, for his own benefit or for the
benefit of another, any of Company's Proprietary Information.

               (d)    All files, records, documents, specifications, memoranda, notes, or other
documents relating to the business of Company, whether prepared by Employee or otherwise
coming into his possession, shall be the exclusive property of Company and shall be delivered to
Company and not reproduced and/or retained by Employee upon termination of his employment
for any reason whatsoever or at any other time upon request of Company.

       9.      Inventions. Employee covenants and agrees he will fully inform Company of
and disclose to Company all inventions, designs, improvements, discoveries conceptions,
innovations, methods, know-how, ideas, writings, processes, or other creations or works of
authorship ("Inventions") that he has now or may hereafter have during his employment with
Company and that pertain to or relate to the business of Company or to any experimental work,

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products, services, or processes of Company in progress or planned for the future, whether
conceived by Employee alone or with others and whether conceived during regular working
hours or in conjunction with the use of any Company assets. All such Inventions shall be the
exclusive property of Company regardless of whether patent or trademark applications are filed
thereon. Employee assigns to the Company all right, title and interest Employee may have or
may acquire in and to all Inventions including, without limitation, all patent rights, copyright
rights, trade secret rights, and all other intellectual property rights therein. Employee shall assist
Company, at any time during or after his employment, in obtaining patents on all such Inventions
deemed patentable by Company and shall execute all documents and do all things necessary to
obtain letters patent, vest Company with full and exclusive title thereto, and protect the same
against infringement by others. If the Company requires any assistance after termination of
Employee's employment, Employee will be compensation for time actually spent in providing
that assistance at an hourly rate equivalent to Employee's salary or wages during the last period
of employment with the Company. If the Company is unable to secure Employee's signature on
any document necessary to apply for, prosecute or obtain or enforce any patent, copyright, or
other right or protection relating to any Invention, whether due to Employee's mental or physical
incapacity or any other cause, Employee hereby irrevocably designates and appoints the
Company and each of its duly authorized officers and agents as Employee's agent and attorney-
in-fact, to act for and in Employee's behalf to execute and file any such document and to do all
other lawfully permitted acts to further the prosecution, issuance and enforcement of patents,
copyrights, or other rights or protections, with the same force and effect as if executed and
delivered by Employee.

        10.     Non-Solicitation. Employee agrees that, during the period of his employment
and for two (2) years after termination of Employee's employment for any reason by either
Company or Employee, he will not, either directly or indirectly, for himself or for any third
party, except as otherwise agreed to in writing by Company; (a) solicit, induce, recruit, or cause
(or attempt to solicit, induce, recruit, or cause) any person who is then employed by Company to
terminate his/her employment with the Company; or (b) solicit, induce, recruit, divert, take away,
or do business with (or attempt to solicit, induce, recruit, divert, take away, or do business with)
any customer of Company and/or any prospective customer of Company after the date hereof
and prior to the date of Employee's termination. If during the non-compete period, Company
ceases its on-going operations, Employee's covenant not to compete will terminate; provided
however, that Employee must notify Company in writing before such termination is effective and
give Company an opportunity to deny cessation of business.

        11.     Non-Competition. Employee agrees that, during the period of his employment
and for two (2) years after termination of Employee's employment for any reason by either
Company or Employee, he will not, directly or indirectly on behalf of Employee or on behalf of
a third party, except as otherwise agreed to in writing by Company: (a) compete with the
business of Company (computer-assisted wagering on horse races) whether as an employee,
employer, consultant, agent, principal, partner, shareholder, corporate officer, director, or
through any other kind of ownership (other than ownership of securities of publicly-held
corporations of which Employee owns less than two percent (2%) of any class of outstanding
securities) or in any other representative or individual capacity; or (b) engage in or render any
services to any business engaged in Company's current industry or any industry in which
Company becomes involved or is considering becoming involved from the date hereof until the

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conclusion of Employee's employment. It is expressly understood that, given the worldwide
nature of Company's business and the limited nature of Company's competition, there is no
geographic restriction on this Paragraph.

        12.      Remedies for Breach of Covenants of Employee.

                (a)   Company and Employee specifically acknowledge and agree that the
foregoing covenants of Employee in Sections 8 through 11 are reasonable in content and scope
and are given by Employee knowingly, willingly, voluntarily, and for adequate and valid
consideration. Company and Employee further acknowledge and agree that, if any court of
competent jurisdiction or other appropriate authority disagrees with the parties' foregoing
agreement as to reasonableness, then such court or other authority shall reform or otherwise
modify the foregoing covenants of the Employee in Sections 8 through 11 only so far as
necessary to be enforceable as reasonable, notwithstanding and regardless of any law or authority
to the contrary.

                (b)     The covenants set forth in Sections 8 through 11 of this Agreement shall
continue to be binding upon Employee notwithstanding the termination of his employment with
Company for any reason by either party. Such covenants shall be deemed and construed as
separate agreements independent of any other provisions of this Agreement and any other
agreement between Company and Employee. The existence of any claim or cause of action by
Employee against Company shall not constitute a defense to the enforcement by Company of any
or all such covenants. It is expressly agreed that the remedy at law for the breach of any such
covenant is inadequate, that Employee shall not defend against any claim by Company on the
basis of an adequate remedy of law, that injunctive relief and specific performance shall be
available to prevent the breach or any threatened breach thereof, and that the Company shall not
be required to post bond in pursuit of such claim. The parties agree that if Company prevails in
any action to enforce any provision of Sections 8 through 11 that Company shall be entitled to an
award against Employee for its reasonable expenses (including, without limitation, reasonable
attorneys' fees, costs, expert fees, and disbursements) in pursuing such action notwithstanding
and regardless of any law to the contrary.

        13.    Termination. This Agreement (other than Sections 8 through 13 hereof, which
shall survive any termination hereof for any reason) may be terminated by either Company or
Employee at any time by providing notice as set forth in Paragraph 15 below.

        14.     Transition of Work. Upon termination for any reason, Employee (i) agrees to
provide reasonable cooperation to Company in winding up Employee's work for Company and
transferring that work to other individuals as designated by Company, and (ii) agrees to provide
reasonable cooperation with Company in litigation based on acts or events arising during
Employee's employment with Company, if requested by Company.




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        15.    Notices. Any notices to be given hereunder by either party to the other shall be in
writing and may be effected (i) by personal delivery, (ii) by mail, registered or certified, postage
prepaid, with return receipt requested, (iii) by overnight courier, or (iii) by e-mail with a delivery
and read receipt. Notices shall be addressed as follows:

                (a)    If to Company:

                       Arion Capital Management
                       884 Town Center Drive
                       Langhorne, PA 19047
                       Attn: Larry Frascella
                       E-mail: larry.frascella@gmail.com

                (b)    If to Employee:

                       Brett Morgan
                       6900 S. Sandpiper Ave.
                       Tuscon, AZ 85746
                       E-mail:
                                ----------------------
Either party may change its address for notice by giving notice in accordance with the terms of
this Section.

        16.     General Provisions.

                (a)     Governing Law and Consent to Jurisdiction. This Agreement and all
disputes relating to Employee's employment with Company shall be subject to, governed by, and
construed in accordance with the laws of the State of Pennsylvania irrespective of any choice of
law and/or of the fact that one or both of the parties now is or may become a resident of a
different state. Employee hereby expressly submits and consents to the exclusive personal
jurisdiction and exclusive venue of the federal and state courts of competent jurisdiction in the
State of Pennsylvania.

                 (b)    Invalid Provisions. If any provision of this Agreement is held to be
illegal, invalid, or unenforceable, then such provision shall be fully severable, and this
Agreement shall be construed and enforced as if such illegal, invalid, or unenforceable provision
had never comprised a part hereof; and the remaining provisions hereof shall remain in full force
and effect and shall not be affected by the illegal, invalid, or unenforceable provision or by its
severance herefrom. Furthermore, in lieu of such illegal, invalid, or unenforceable provision
there shall be added automatically as a part of this Agreement a provision as similar in terms to
such illegal, invalid, or unenforceable provision as may be possible and still be legal, valid or
enforceable.

                (c)     Construction of Agreement. This Agreement sets forth the entire
understanding of the parties and supersedes all prior agreements or understandings, whether
written or oral, with respect to the subject matter hereof. No terms, conditions, warranties, other
than those contained herein, and no amendments or modifications hereto shall be binding unless


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made in writing and signed by the parties hereto. This Agreement shall not be strictly construed
against either party.

                (d)     Binding Effect. This Agreement shall extend to and be binding upon and
inure to the benefit of the parties hereto, their respective heirs, representatives, successors, and
assigns. This Agreement may not be assigned by Employee, but may be assigned by Company
to any person or entity that succeeds to the ownership or operation of the business in which
Employee is primarily employed by Company.

               (e)    Waiver. The waiver by either party hereto of a breach of any term or
provision of this Agreement shall not operate or be construed as a waiver of a subsequent breach
of the same provision by any party or of the breach of any other term or provision of this
Agreement.

               (f)      Titles. Titles of the Sections herein are used solely for convenience and
shall not be used for interpretation or construing any work, clause, paragraph, or provision of this
Agreement.

               (g)     Counterparts. This Agreement may be executed in two or more
counterparts, each of which shall be deemed an original, but which together shall constitute one
and the same instrument.

        IN WITNESS WHEREOF, Company and Employee have executed this Agreement as
of the date and year first above written.

 EMPLOYEE:                                        COMPANY:

                                                                        MANAGEMENT LLC




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Schedule A

Job Description

    •   Responsible for all modeling efforts, which involves feature extraction, feature
        engineering, regression modeling, machine learning, wager optimization models, market
        prediction (including econometrics).

    •   Responsible for all SQL/database management of the data from TrackMaster, Amtote,
        involving data parsing, cleaning and organization for both back-end (research) and
        production environments.

    •   Daily monitoring of bet files and bug-monitoring constantly to maintain error-less
        production environments.

    •   Innovation to solve problems in a niche space and niche market, using data-driven
        modeling towards a professional gambling "advantage player" mindset.

    •   Knowledge of the sports modeling (after visiting the tracks, having discussions with
        already successful CAW players, certain knowledge and information to be used).

   •    Management of tasks for consultants who are hired by the Company and who are subject
        matter experts in either horse racing and general data analysis, or other sports games, or
        statistics/probability, machine learning, or another mathematical expertise, computer
        engineering and software.

    •   Identify future consultants to assist on specific tasks.

    •   Responsible for all project management documentation to ensure anyone is able to
        monitor progress at any given time, when desirable.




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                    OPERATING AGREEMENT

                                          OF
            ARION CAPITAL MANAGEMENT, LLC




The Membership Interests referred to in this limited liability company agreement have not
been registered under the Securities Act of 1933 or any other securities laws, and such
Membership Interests may not be transferred without appropriate registration or the
availability of an exemption from such registration requirements.




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                              OPERATING AGREEMENT
                                        OF
                          ARION CAPITAL MANAGEMENT, LLC

        THIS OPERATING AGREEMENT (this "Agreement") is made and entered into as of
[•], 2016 by and between the persons set forth on Schedule A attached hereto.

                                          RECITALS:

      WHEREAS, Arion Capital Management, LLC, a Delaware liability company (the
"Company"), has been formed as a limited liability company under the laws of the State of
Delaware; and

        WHEREAS, in connection with the acqu1SltiOn of the membership interests of the
Company as of the date hereof by the Members set forth hereto on Schedule A, as permitted
under the Act and this Agreement, the Members have adopted this Agreement as of the date first
written above.

                                        AGREEMENT:

        In consideration of the premises and the mutual agreements contained herein, the persons
set forth on the signature page attached hereto agree as follows:

                                         ARTICLE I
                                        DEFINITIONS

       1.1   Terms Defined Herein. As used herein, the following terms shall have the
following meanings, unless the context otherwise specifies:

      "Act" means the Delaware Limited Liability Company Act, 6 Del. C. §18-101 et seq., as
amended from time to time, and any successor to such Act.

        "Adjusted Capital Account Deficit" means, with respect to any Member, the deficit
balance, if any, in such Member's Capital Account as of the end of the relevant fiscal year, after
giving effect to the following adjustments: (i) increased for any amounts such Member is
unconditionally obligated to restore and the amount of such Member's share of Company
Minimum Gain and Member Minimum Gain after taking into account any changes during such
year; and (ii) reduced by the items described in Treasury Regulation§ 1.704-1(b)(2)(ii)(d)(4), (5)
and (6).

        "Agreement" means this Operating Agreement of the Company, as amended from time
to time.

       "Articles" means the Certificate of Formation of the Company filed with the Delaware
Secretary of State, as amended from time to time.

      "Available Cash" means the aggregate amount of cash on hand or in bank, money
market or similar accounts of the Company derived from the day to day operations of the


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Company (and specifically excluding Liquidation Proceeds) that the Board of Managers
determines is available for distribution to the Members after taking into account any amount
required or appropriate to maintain a reasonable amount of Reserves. For the avoidance of doubt,
when distributing funds pursuant to or in accordance with Section 4.2(c), Available Cash will be
deemed to include Liquidation Proceeds.

        "Benchmark Amount" shall mean an amount specified by the Board of Managers with
respect to each Class B Membership Interests issued pursuant to this Agreement.

      "Board of Managers" means the group of Managers elected pursuant to Article V to
manage the business and affairs ofthe Company.

     "Capital Account" means the separate account established and maintained by the
Company for each Member and each Transferee pursuant to Section 3.3.

     "Capital Contributions Balance" means the aggregate capital contributions made by a
Member, less Distributions received pursuant to Section 4.l(a)(i).

         "Cause" shall have the meaning set forth in Section 7.6(b).

       "Class A Member" means the Class A Members identified on Schedule A hereto and
their permitted successors or assigns, and any additional Class A Member admitted to the
Company after the date hereof in accordance with this Agreement.

       "Class A Membership Interests" shall mean the Membership Interests representing the
right to receive distributions pursuant to Section 4.l(a), together with all allocations
corresponding thereto.

        "Class B Member" means the Class B Members identified on Schedule A hereto and
their respective successors or assigns, and any additional Class B Member admitted to the
Company after the date hereof and in accordance with this Agreement.

        "Class B Membership Interests" shall mean the Membership Interests representing the
right to receive distributions pursuant to Section 4.1 (a), and subject to the limitations set forth in
Section 4.1 (b), together with all allocations corresponding thereto.

       "Code" means the Internal Revenue Code of 1986, as amended from time to time, or the
corresponding provisions of future laws.

         "Company Minimum Gain" shall have the same meaning as partnership minimum gain
set forth in Treasury Regulation§ 1.704-2(d)(1). Company Minimum Gain shall be determined,
first, by computing for each Nonrecourse Debt any gain that the Company would realize if the
Company disposed of the property subject to that liability for no consideration other than full
satisfaction of such liability and, then, aggregating the separately computed gains. For purposes
of computing gain, the Company shall use the basis of such property that is used for purposes of
determining the amount of the Capital Accounts under Section 3.3 hereof. In any taxable year in
which a Revaluation occurs, the net increase or decrease in Company Minimum Gain for such
taxable year shall be determined by: (1) calculating the net decrease or increase in Company

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Minimum Gain using the current year's book value and the prior year's amount of Company
Minimum Gain, and (2) adding back any decrease in Company Minimum Gain arising solely
from the Revaluation.

      "Contributing Members" shall have the meaning set forth in Section 3.2(c) of this
Agreement.

     "Credits" means all tax credits allowed by the Code with respect to activities of the
Company or the Property.

       "Distributions" means any distributions by the Company to the Members of Available
Cash or Liquidation Proceeds or other amounts.

       "Fair Market Value" means the price at which a Membership Interests would change
hands between a hypothetical willing and able buyer and a willing and able seller, acting at arm's
length in an open and unrestricted market, with neither being under compulsion to buy or sell
and when both have reasonable knowledge of relevant facts.

         "Fair Value" of an asset means its Fair Market Value.

         "Income" and ''Loss" mean, respectively, for each fiscal year or other period, an amount
equal to the Company's taxable income or loss for such year or period, determined in accordance
with Code § 703(a), except that for this purpose (i) all items of income, gain, deduction or loss
required to be separately stated by Code § 703(a)(l) shall be included in taxable income or loss;
(ii) tax exempt income shall be added to taxable income or loss; (iii) any expenditures described
in Code § 705(a)(2)(B) (or treated as Code § 705(a)(2)(B) expenditures pursuant to Treasury
Regulation § 1.704-l(b)(2)(iv)(i)) and not otherwise taken into account in computing taxable
income or loss shall be subtracted; and (iv) taxable income or loss shall be adjusted to reflect any
item of income or loss specifically allocated in Article IV.

        "Liquidation Proceeds" means all Property at the time of liquidation of the Company
and all proceeds thereof.

         "Liquidator" shall have the meaning set forth in Section 4.2(b).

        "Majority in Interest" means any Class A Member or group of Class A Members
holding an aggregate of more than fifty percent (50%) of the outstanding Class A Membership
Interests ofthe Company.

       "Manager" means each of the natural persons elected pursuant to Article V to serve on
the Board of Managers.

        "Member" means each Person executing this Agreement as a Class A Member or Class
B Member and each Person who is subsequently admitted to the Company as a Member pursuant
to this Agreement.

      "Member Minimum Gain" shall have the same meaning as partner nonrecourse debt
minimum gain as set forth in Treasury Regulation § 1. 704-2(i)(3). With respect to each Member

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Nonrecourse Debt, Member Minimum Gain shall be determined by computing for each Member
Nonrecourse Debt any gain that the Company would realize if the Company disposed of the
property subject to that liability for no consideration other than full satisfaction of such liability.
For purposes of computing gain, the Company shall use the basis of such property that is used
for purposes of determining the amount of the Capital Accounts under Section 3.3 of this
Agreement. In any taxable year in which a Revaluation occurs, the net increase or decrease in
Member Minimum Gain for such taxable year shall be determined by: (1) calculating the net
decrease or increase in Member Minimum Gain using the current year's book value and the prior
year's amount of Member Minimum Gain, and (2) adding back any decrease in Member
Minimum Gain arising solely from the Revaluation.

        "Member Nonrecourse Debt" shall have the same meaning as partner nonrecourse debt
set forth in Treasury Regulation§ 1.704-2(b)(4).

        "Member Nonrecourse Deductions" shall have the same meaning as partner
nonrecourse deductions set forth in Treasury Regulation § 1.704-2(i)(2). Generally, the amount
of Member Nonrecourse Deductions with respect to a Member Nonrecourse Debt for a fiscal
year equals the net increase during the year in the amount of the Member Minimum Gain
(determined in accordance with Treasury Regulation§ 1.704-2(i)) reduced (but not below zero)
by the aggregate distributions made during the year of proceeds of Member Nonrecourse Debt
and allocable to the increase in Member Minimum Gain determined according to the provisions
ofTreasury Regulation§ 1.704-2(i).

        "Membership Interest" is a measure of the relative ownership by the Members in the
Company and refers to all of a Member's rights and interests in the Company in such Member's
capacity as a Member, all as provided in the Articles, this Agreement and the Act, including,
without limitation, the Member's interest in the capital, income, gain, deductions, losses, and
credits ofthe Company.

       "Minimum Gain Chargeback Requirement" shall have the meanmg set forth m
Section 4.5(b).

         "Net Income" shall have the meaning set forth in Section 7.6(c).

       "Net Taxable Income" shall mean with respect to each Member for a particular
Company tax year the excess, if any, of (i) such Member's share of the Company's net taxable
income allocated to such Member, over (ii) the aggregate amount of such Member's share of the
Company's net taxable loss for all prior years which has not been previously utilized to offset
such Member's share of the Company's Net Taxable Income for any previous year. For these
purposes, Members shall include any predecessor in interest with respect to the applicable
Membership Interests and the computation of taxable income shall be based upon the Fair Value
of property contributed to the Company in exchange for Membership Interests.

      "Non-Contributing Member" shall have the meaning set forth in Section 3.2(c) of this
Agreement.

       "Nonrecourse Debt" means a Company liability with respect to which no Member bears
the economic risk ofloss as determined under Treasury Regulation§§ 1.752-l(a)(2) and 1.752-2.

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        "Nonrecourse Deductions" shall have the same meaning as nonrecourse deductions set
forth in Treasury Regulation§ 1.704-2(c). Generally, the amount ofNonrecourse Deductions for
a fiscal year equals the net increase in the amount of Company Minimum Gain (determined in
accordance with Treasury Regulation § 1.704.2(d)) during such year reduced (but not below
zero) by the aggregate distributions made during the year of proceeds of a Nonrecourse Debt that
are allocable to the increase in Company Minimum Gain, determined according to the provisions
ofTreasury Regulation§ 1.704-2(c) and (h).

        "Notice" shall have the meaning set forth in Section 9.3.

       "Person" means any individual, partnership, limited liability company, corporation,
cooperative, trust or other entity.

        "Property" means all properties and assets that the Company may own or otherwise have
an interest in from time to time.

        "Reserves" shall have the meaning set forth in Section 4.8 ofthis Agreement.

        "Substitute Member" shall have the meaning set forth in Section 7.2.

        "Tax Distribution Amount" shall mean with respect to each Member an amount equal
to the product of (i) such member's Net Taxable Income with respect to such tax year of the
Company, times (ii) the Tax Rate.

       "Tax Matters Member" means the Person designated pursuant to Section 6.4 to
represent the Company in matters before the Internal Revenue Service.

         "Tax Rate" shall mean the sum of (i) maximum applicable marginal Federal income tax
rate, (ii) 3.8%; and (iii) the maximum effective local and state marginal income tax rates for
individuals residing in the Commonwealth of Pennsylvania.

        "Third Party" means a Person that is not an affiliate of the Company or a Member.

        "Transfer" means (i) when used as a verb, to give, sell, exchange, assign, transfer,
pledge, hypothecate, bequeath, devise or otherwise dispose of or encumber, and (ii) when used as
a noun, the nouns corresponding to such verbs, in either case voluntarily or involuntarily, by
operation of law or otherwise. Transfers shall include, without limitation, a Transfer with
respect to the ownership or equity of a Member or a Member's equity owner or other controlling
party.

        "Transferee" shall have the meaning set forth in Section 7.2 of this Agreement.

        "Transferor" shall mean any Member that transfers Membership Interests.

        "Treasury Regulations" means the regulations promulgated by the Treasury Department
of the United States of America with respect to the Code, as such regulations are amended from
time to time, or the corresponding provisions of future regulations.



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      "Unfunded Amount" shall have the meanmg set forth m Section 3.2(c) of this
Agreement.

         1.2     Other Definitional Provisions.

              (a)     As used in this Agreement, accounting terms not defined in this
Agreement, and accounting terms partly defined to the extent not defined, shall have the
respective meanings given to them under generally accepted accounting principles.

                (b)     The words "hereof," "herein" and "hereunder" and words of similar
import when used in this Agreement shall refer to this Agreement as a whole and not to any
particular provision of this Agreement, and section, subsection, schedule and exhibit references
are to this Agreement unless otherwise specified.

              (c)      Words of the masculine gender shall be deemed to include the feminine
or neuter genders, and vice versa, where applicable. Words of the singular number shall be
deemed to include the plural number, and vice versa, where applicable.

                                      ARTICLE II
                            BUSINESS PURPOSES AND OFFICES

        2.1   Name; Business Purpose. The name of the Company shall be as stated in the
Articles. The Company is formed for the purpose of conducting any and all business permitted
to be conducted by the Act and applicable law, all in accordance with this Agreement.

        2.2     Powers. In addition to the powers and privileges conferred upon the Company by
law and those incidental thereto, the Company shall have the same powers as a natural person to
do all things necessary or convenient to carry out its business and affairs.

        2.3    Principal Office. The principal office of the Company shall be located at such
place as the Board of Managers may determine from time to time.

        2.4     Registered Office and Registered Agent. The location of the registered office
and the name of the registered agent of the Company in the State of Delaware shall be as stated
in the Articles. The registered office and registered agent of the Company may be changed, from
time to time, by the Board of Managers.

       2.5     Amendment of the Articles. The Company shall amend the Articles at such time
or times and in such manner as may be required by the Act and this Agreement.

         2.6     Effective Date. This Agreement shall be effective upon the date first set forth
above.

         2. 7   Liability of Members. No Member or Manager, solely by reason of being a
Member or Manager, or both, shall be liable, under a judgment, decree or order of a court, or in
any other manner, for a debt, obligation or liability of the Company, whether arising in contract,
tort or otherwise, or for the acts or omissions of any other Member, Manager, agent, or employee
of the Company. The failure of the Company to observe any formalities or requirements relating

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to the exercise of its powers or management of its business or affairs under this Agreement or the
Act shall not be grounds for imposing liability on the Members or Managers for the debts,
obligations, or liabilities ofthe Company.

                                       ARTICLE III
                                   MEMBERSHIP INTERESTS

         3.1     Membership Interests.

                  (a)     Each Member acknowledges and agrees that each Member will have the
          Membership Interests set forth opposite such Member's name on Schedule A attached
          hereto. All future Class B Members shall be assigned a Benchmark Amount at the time
          of the issuance of Class B Membership Interests to such Members.

                  (b)     The Company intends that the Class B Membership Interests will be
          treated as "profits interests" for U.S. federal income tax purposes within the meaning of
          Revenue Procedure 93-27, 1993-C.B. 343. In accordance with Revenue Procedure
          2001-43, 2001-2 CB 191, the Company shall treat such Member as the owner of such
          Membership Interests and such individuals listed on Schedule A. Each Class B Member
          hereby agrees to make a timely election under Code Section 83(b). Because these
          Class B Membership Interests are intended to be "profits interests" for U.S. federal
          income tax purposes, it is anticipated that the amount of gross income to be included by
          the holders of Class B Membership Interests with respect to the Code Section 83(b)
          election is zero.

         3.2     Additional Capital Contributions.

                 (a)     Upon the request of the Board of Managers, each of James Carnes, Larry
         Frascella, and David Frascella agree to make, on an aggregate basis, up to $500,000.00 of
         capital contributions, in such proportions determined at the discretion of Messrs. Carnes,
         L. Frascella, and D. Frascella.

                (b)    Following the contributions of capital pursuant to Section 3.2(a), the
         Company may, at the discretion of the Board of Managers, require the Class A Members
         to make additional capital contributions to the Company in such amounts determined by
         the Board of Managers.

                 (c)     If any Class A Member fails for any reason to timely satisfy all or any part
         of a capital contribution, such Class A Member shall be deemed to be a "Non-
         Contributing Member." The Board of Managers shall promptly give written notice of the
         Non-Contributing Member's failure to contribute to the other Class A Members (the
         "Contributing Members") specifying the amount the Non-Contributing Member failed to
         contribute (the "Unfunded Amount"). The Contributing Members shall then have the
         right, but not the obligation, for a period of ten ( 10) days after receipt of such notice, to
         contribute to the Company an amount equal to the Unfunded Amount. If the Contributing
         Member elects to fund the Unfunded Amount, then the Class A Membership Interests of
         the Class A Members shall be adjusted to reflect their relative aggregate capital
         contribution. By way of example only, if (1) each Class A Member held a 20%

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         Membership Interest and had previously contributed $1,000,000 to the capital of the
         Company, (2) the Company requires a capital contribution pursuant to Section 3.2(b) of
         $250,000 from each of the Class A Members, and (3) one Class A Member failed to fund
         such capital contribution and the other Class A Members funded 100% of the Non-
         Contributing Members capital contribution on a pro rata basis, then the Class A
         Membership Interests of the Class A Members as set forth on Schedule A shall be
         adjusted as follows:

           Class A Membership Interests of              Total Contributions by Contributing/Non-
           the applicable Member           =            Contributing Member
                                                        Total Contributions by Members

         As a result the Non-Contributing Member's Class A Membership Interests would be
         adjusted to


         Class A Membership Interests of the        =    1,000,000 =
                                                                                  16%
         Non-Contributing Member                         6,250,000


         As a result each Contributing Members' Class A Membership Interests would be adjusted
         to:


         Class A Membership Interests of the             I ,312,500
                                                    =                             21%
         Contributing Member                             6,250,000


         3.3     Capital Accounts. A separate Capital Account shall be maintained for each
Member and each Transferee. The initial Capital Account for each Member is set forth on
Schedule A. Each Member's Capital Account shall be (a) increased by (i) the amount of money
contributed by such Member, (ii) the Fair Value of property contributed by such Member (net of
liabilities secured by such contributed property that the Company is considered to assume or take
subject to under Code § 752), (iii) allocations to such Member, pursuant to Article IV, of
Company income and gain (or items thereof), and (iv) to the extent not already netted out under
clause (b)(ii) below, the amount of any Company liabilities assumed by the Member or which are
secured by any property distributed to such Member; and (b) decreased by (i) the amount of
money distributed to such Member, (ii) the Fair Value of property distributed to such Member
(net of liabilities secured by such distributed property that such Member is considered to assume
or take subject to under Code § 752), (iii) allocations to such Member, pursuant to Article IV, of
Company loss and deductions (or items thereof), and (iv) to the extent not already netted out
under clause (a)(ii) above, the amount of any liabilities ofthe Member assumed by the Company
or which are secured by any property contributed by such Member to the Company.

      In the event any Membership Interests are transferred in accordance with the terms of this
Agreement, the Transferee shall succeed to the Capital Account of the Transferor to the extent it



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relates to the transferred interest and the Capital Account of each Transferee shall be increased
and decreased in the manner set forth above.

         In the event of (x) an additional capital contribution by an existing or an additional
Member of more than a de minimis amount that results in a shift in Membership Interests, (y) the
distribution by the Company to a Member of more than a de minimis amount of property as
consideration for a Membership Interests or a distribution of property other than money or (z) the
liquidation of the Company within the meaning of Treasury Regulation § 1. 704-1 (b)(2)(ii)(g),
the book basis of the Property shall be adjusted to Fair Value and the Capital Accounts of all the
Members shall be adjusted simultaneously to reflect the aggregate net adjustment to book basis
as if the Company recognized gain or loss equal to the amount of such aggregate net adjustment;
provided, however, that the adjustments resulting from clause (x) or (y) above shall be made
only if (and to the extent) the Board of Managers determine that such adjustments are necessary
or appropriate to reflect the relative economic interests of the Members.

       In the event that Property is subject to Code § 704(c) or is revalued on the books of the
Company in accordance with the preceding paragraph pursuant to § 1.704-1(b)(2)(iv)(f) of the
Treasury Regulations, the Members' Capital Accounts shall be adjusted in accordance with
§ 1.704-l(b)(2)(iv)(g) of the Treasury Regulations for allocations to the Members of
depreciation, amortization and gain or loss, as computed for book purposes (and not tax
purposes) with respect to such Property.

        The foregoing provisions of this Section 3.3 and the other provisions of this Agreement
relating to the maintenance of capital accounts are intended to comply with Treasury Regulation
§§ 1.704-1(b) and 1.704-2, and shall be interpreted and applied in a manner consistent with such
Treasury Regulations. In the event it is determined by the Board of Managers that it is prudent
or advisable to modify the manner in which the Capital Accounts, or any increases or decreases
thereto, are computed in order to comply with such Treasury Regulations, the Board of Managers
may cause such modification to be made provided that it is not likely to have a material effect on
the amounts distributable to any Member upon the dissolution of the Company, and the Board of
Managers, upon any such determination by the Members, is empowered to amend or modify this
Agreement, notwithstanding any other provision of this Agreement.

       3.4     Capital Withdrawal Rights, Interest and Priority. Except as expressly
provided in this Agreement, no Member shall be entitled to withdraw or reduce such Member's
Capital Account or to receive any Distributions. No Member shall be entitled to demand or
receive any Distribution in any form other than in cash. No Member shall be entitled to receive
or be credited with any interest on the balance in such Member's Capital Account at any time.
Except as may be otherwise expressly provided herein, no Member shall have any priority over
any other Member as to the return of the balance in such Member's Capital Account.

                                   ARTICLE IV
                          ALLOCATIONS AND DISTRIBUTIONS

         4.1     Non-Liquidation Cash Distributions.




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              (a)    Subject to Section 4.1(b), the amount, if any, of Available Cash shall be
determined by the Board of Managers and shall be distributed to the Members at the times and in
the amounts determined by the Board of Managers (i) first, pro rata in accordance with their
respective Capital Contribution Balance and (ii) second, pro rata in accordance with their
respective Membership Interests.

              (b)    A Class B Member shall not receive distributions pursuant to Section
4.1(a) in respect of such Membership Interests until the Class A Members receive on an
aggregate basis, Distributions equal to the Benchmark Amount in respect of the Class B
Membership Interests held by such Class B Member.

                (c)     Notwithstanding Section 4.1 (a) and Section 4.1 (b) above, to the extent
funds are available, the Company shall distribute periodically to match the time for making
estimated tax payments to each Member an amount equal to such Member's Tax Distribution
Amount; provided that, no Distributions shall be made with respect to income allocated in
connection with a sale by the Company of all or substantially all of the Company's assets. There
can be no assurance, however, that such distributions will be made, or if made, will fully satisfy
a Member's tax liabilities attributable to allocations of taxable income hereunder. If the
Company does not have sufficient cash to make distributions of the Tax Distribution Amount to
all Members, then the Company will make such Distribution of cash to the Members pro rata in
proportion to the respective amounts due to them under this Section 4.1 (c), and the Company
shall make up any shortfall in any Distribution of Tax Distribution Amounts at such times as the
Company has sufficient cash to fund such distributions. The Distribution under this Section
4.1(c) shall be treated as an advance on Distributions under Section 4.1(a)(ii), and Distributions
under Section 4.1(a)(ii) shall be deemed to satisfy the Distribution obligations under this Section
4.1(c).

       4.2    Liquidation Distributions.      Liquidation Proceeds shall be distributed in the
following order of priority:

             (a)      To the payment of debts and liabilities of the Company (including to
Members to the extent otherwise permitted by law) and any expenses of liquidation.

                (b)     Next, as necessary, to the setting up of such reserves as the Person
required or authorized by law to wind up the Company's affairs (the "Liquidator") may
reasonably deem necessary or appropriate for any disputed, contingent or unforeseen liabilities
or obligations of the Company, provided that any such reserves shall be paid over by the
Liquidator to an independent escrow agent, to be held by such agent or its successor for such
period as the Liquidator shall deem advisable for the purpose of applying such reserves to the
payment of such liabilities or obligations and, at the expiration of such period, the balance of
such reserves, if any, shall be distributed as hereinafter provided. Each action of the Liquidator
pursuant to this Section 4.2(b) must be approved by a Majority in Interest ofthe Members.

                (c)    The remainder to the Members pursuant to Section 4.1(a) above.

       4.3     Income, Losses and Distributive Shares of Tax Items. The Company's Income
or Loss, as the case may be, for each fiscal year of the Company, as determined in accordance


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with such method of accounting as may be adopted for the Company pursuant to Article VI
hereof, shall be allocated to the Members for both financial accounting and income tax purposes
as set forth in this Article IV, except as otherwise provided for herein or unless all Members
agree otherwise.

         4.4     Allocation of Income, Loss and Credits.

                  (a)    After giving effect to the special allocations required under Sections
          4.5(b)-(h) hereof, Income and Loss (and, to the extent necessary, individual items of
          gross income, gain, deduction, loss or credit) for each fiscal year or other accounting
          period of the Company shall be allocated among the Members in a manner that will, as
          nearly as possible, cause the Capital Account balance of each such Member at the end of
          such accounting period to equal the hypothetical distribution, if any, that such Member
          would receive if, on the last day of such period: (x) all of the Company's assets,
          including cash, were sold for cash equal to their book values (as determined for purposes
          of maintaining Capital Accounts in accordance with Section 3.3 hereof); (y) all
          Company liabilities reflected on the face ofthe Company's balance sheet were satisfied
          in cash according to their terms (limited, with respect to each nonrecourse liability, to
          the book value (as so determined) ofthe Company assets securing such liability); and (z)
          the net remaining proceeds thereof were distributed in full to the Members in the order
          of priority described in Section 4.2(c) hereof. For purposes of determining Capital
          Accounts under this Section, (i) Capital Accounts shall first be reduced by any
          Distributions during such period other than Distributions pursuant to Section 4.2 hereof,
          and (ii) a Member's Capital Account balance shall be deemed to be increased by such
          Member's share of Company Minimum Gain and Member Minimum Gain, if any,
          determined as of the end of such accounting period. Notwithstanding anything in this
          Section to the contrary, Income and Losses (and, to the extent necessary, individual
          items of gross income, gain, deduction, loss or credit) realized by the Company in
          connection with a change in control or the liquidation or dissolution and termination of
          the Company shall be allocated to the extent possible in a manner so as to cause the
          positive Capital Account balance of each Member to equal the aggregate amount of
          Distributions such Member is entitled to under Section 4.2(c) hereof.

                  (b)     The Members intend that the allocation of Income and Loss as described
          above will produce final Capital Account balances of the Members that will equal the
          aggregate amount of liquidating Distributions such Member receives under Section 4.2
          hereof. If such allocation provisions would fail to produce such final Capital Account
          balances, such tax allocation provisions may be amended by the Board of Managers in
          the sole discretion thereof, to the extent permitted or required by law, if and to the extent
          necessary to produce such result.

        4.5   Special Rules Regarding Allocation of Tax Items. Notwithstanding the
foregoing provisions of Article IV, the following special rules shall apply in allocating tax items
of the Company:

                 (a)     § 704(c) and Revaluation Allocations.           In accordance with Code
          § 704(c) and the Treasury Regulations thereunder, income, gain, loss and deduction with


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          respect to any property contributed to the capital of the Company shall, solely for tax
          purposes, be allocated among the Members so as to take account of any variation
          between the adjusted basis of such property to the Company for federal income tax
          purposes and its Fair Value at the time of contribution. In the event of a Revaluation,
          subsequent allocations of income, gain, loss and deduction with respect to such property
          shall take account of any variation between the adjusted basis of such property to the
          Company for federal income tax purposes and its Fair Value immediately after the
          adjustment in the same manner as under Code § 704(c) and the Treasury Regulations
          thereunder. Any elections or other decisions relating to such allocations shall be made
          by the Board of Managers in a manner that reasonably reflects the purpose and intention
          of this Agreement; provided that, the Company shall adopt the remedial allocation
          method as contemplated in Treasury Regulation Section 1.704-3(d). Allocations
          pursuant to this Section 4.5(a) are solely for income tax purposes and shall not affect, or
          in any way be taken into account in computing, for book purposes, any Member's
          Capital Account or share of Income or Loss, pursuant to any provision of this
          Agreement.

                  (b)     Minimum Gain Chargeback. Notwithstanding any other provision of
          this Article IV, ifthere is a net decrease in Company Minimum Gain during a Company
          taxable year, each Member shall be allocated items of income and gain for such year
          (and, if necessary, for subsequent years) in an amount equal to that Member's share of
          the net decrease in Company Minimum Gain during such year (hereinafter referred to as
          the "Minimum Gain Chargeback Requirement"). A Member's share of the net decrease
          in Company Minimum Gain is the amount of the total decrease multiplied by the
          Member's percentage share of the Company Minimum Gain at the end of the
          immediately preceding taxable year. A Member is not subject to the Minimum Gain
          Chargeback Requirement to the extent: (i) the Member's share of the net decrease in
          Company Minimum Gain is caused by a guarantee, refinancing or other change in the
          debt instrument causing it to become partially or wholly recourse debt or a Member
          Nonrecourse Debt, and the Member bears the economic risk of loss for the newly
          guaranteed, refinanced or otherwise changed liability; (ii) the Member contributes
          capital to the Company that is used to repay the Nonrecourse Debt and the Member's
          share of the net decrease in Company Minimum Gain results from the repayment; or (iii)
          the Minimum Gain Chargeback Requirement would cause a distortion and the
          Commissioner of the Internal Revenue Service waives such requirement.

                 A Member's share of Company Minimum Gain shall be computed in accordance
         with Treasury Regulation § 1.704-2(g) and as of the end of any Company taxable year
         shall equal: (1) the sum of the Nonrecourse Deductions allocated to that Member up to
         that time and the distributions made to that Member up to that time of proceeds of a
         Nonrecourse Debt allocable to an increase of Company Minimum Gain, minus (2) the
         sum of that Member's aggregate share of net decrease in Company Minimum Gain plus
         that Member's aggregate share of decreases resulting from revaluations of Property
         subject to Nonrecourse Debts. In addition, a Member's share of Company Minimum
         Gain shall be adjusted for the conversion of recourse and Member Nonrecourse Debts
         into Nonrecourse Debts in accordance with Treasury Regulation § 1.704-2(g)(3). In


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         computing the above, amounts allocated or distributed to the Member's predecessor in
         interest shall be taken into account.

                   (c)    Member Minimum Gain Chargeback. Notwithstanding any other
          provision of this Article IV other than Section 4.5(b ), if there is a net decrease in
          Member Minimum Gain during a Company taxable year, each Member who has a share
          of the Member Minimum Gain (determined under Treasury Regulation § 1.704-2(i)(5)
          as ofthe beginning ofthe year) shall be allocated items of income and gain for such year
          (and, if necessary, for subsequent years) equal to that Member's share of the net
          decrease in Member Minimum Gain. In accordance with Treasury Regulation §
          1.704-2(i)(4), a Member is not subject to this Member Minimum Gain Chargeback
          requirement to the extent the net decrease in Member Minimum Gain arises because the
          liability ceases to be Member Nonrecourse Debt due to a conversion, refinancing or
          other change in the debt instrument that causes it to be partially or wholly a Nonrecourse
          Debt. The amount that would otherwise be subject to the Member Minimum Gain
          Chargeback requirement is added to the Member's share of Company Minimum Gain.

                 (d)    Qualified Income Offset. In the event any Member unexpectedly
         receives an adjustment, allocation or distribution described in Treasury Regulation
         § 1.704-l(b)(2)(ii)(d)(4), (5) or (6), that causes or increases such Member's Adjusted
         Capital Account Deficit, items of Company income and gain shall be specially allocated
         to such Member in an amount and manner sufficient to eliminate such Adjusted Capital
         Account Deficit as quickly as possible, provided that an allocation under this Section
         4.5(d) shall be made if and only to the extent such Member would have an Adjusted
         Capital Account Deficit after all other allocations under this Article IV have been made.

                 (e)    Nonrecourse Deductions. Nonrecourse Deductions for any fiscal year
         or other period shall be allocated to the Members in proportion to their Membership
         Interests.

                 (f)   Member Nonrecourse Deductions.           Any Member Nonrecourse
         Deductions shall be allocated to the Member who bears the risk of loss with respect to
         the loan to which such Member Nonrecourse Deductions are attributable in accordance
         with Treasury Regulation§ l.704-2(i).

                 (g)     Curative Allocations. Any special allocations of items of income, gain,
         deduction or loss pursuant to Sections 4.5(b), (c), (d), (e), (t), and (h) shall be taken into
         account in computing subsequent allocations of income and gain pursuant to this Article
         IV, so that the net amount of any items so allocated and all other items allocated to each
         Member pursuant to this Article IV shall, to the extent possible, be equal to the net
         amount that would have been allocated to each such Member pursuant to the provisions
         of this Article IV if such adjustments, allocations or distributions had not occurred. In
         addition, allocations pursuant to this Section 4.5(g) with respect to Nonrecourse
         Deductions in Section 4.5(e) and Member Nonrecourse Deductions in Section 4.5(t)
         shall be deferred to the extent the Members reasonably determine that such allocations
         are likely to be offset by subsequent allocations of Company Minimum Gain or Member
         Minimum Gain, respectively.


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                  (h)    Loss Allocation Limitation. Notwithstanding the other provisions of
          this Article IV, unless otherwise agreed to by all of the Members, no Member shall be
          allocated Loss in any taxable year that would cause or increase an Adjusted Capital
          Account Deficit as of the end of such taxable year.

                 (i)    Share of Nonrecourse Liabilities. Solely for purposes of determining a
          Member's proportionate share of the "excess nonrecourse liabilities" of the Company
          within the meaning of Treasury Regulation § 1.752-3(a)(3), each Member's interest in
          Company profits is equal to such Member's respective Membership Interests.

                 (j)     Compliance with Treasury Regulations. The foregoing provisions of
         this Section 4.5 are intended to comply with Treasury Regulation§§ 1.704-1(b), 1.704-2
         and 1.752-1 through 1.752-5, and shall be interpreted and applied in a manner consistent
         with such Treasury Regulations. In the event it is determined by the Members that it is
         prudent or advisable to amend this Agreement in order comply with such Treasury
         Regulations, the Board of Managers, upon being so directed by the Members, is
         empowered to amend or modify this Agreement, notwithstanding any other provision of
         this Agreement.

                 (k)    General Allocation Provisions. Except as otherwise provided in this
         Agreement, all items that are components of Income or Loss shall be divided among the
         Members in the same proportions as they share such Income or Loss, as the case may be,
         for the year. For purposes of determining the Income, Loss or any other items for any
         period, Income, Loss or any such other items shall be determined on a daily, monthly or
         other basis, as determined by the Board of Managers using any permissible method
         under Code§ 706 and the Treasury Regulations thereunder.

        4.6      No Priority. Except as may be otherwise expressly provided herein, no Member
shall have priority over any other Member as to Company capital, income, gain, deductions, loss,
credits or distributions.

       4. 7    Tax Withholding. Notwithstanding any other provision of this Agreement, the
Board of Managers is authorized to take any action that it determines to be necessary or
appropriate to cause the Company to comply with any withholding requirements established
under any federal, state or local tax law, including, without limitation, withholding on any
Distribution to any Member. For all purposes of this Article IV, any amount withheld on any
Distribution and paid over to the appropriate governmental body shall be treated as if such
amount had in fact been distributed to the Member.

        4.8   Reserves. The Board of Managers shall establish, maintain and expend certain
amounts ("Reserves") to provide for working capital, for the Members' Tax Distribution
Amounts, for future maintenance, repair or replacement of the Property, for debt service, for
future investments and for such other purposes as it may deem necessary or advisable.




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                                           ARTICLE V
                                          MANAGEMENT

         5.1     Management.

                 (a)     The business and affairs of the Company shall be managed by up to four
         (4) natural persons who shall be referred to as "Managers" and who, acting as a board,
         shall constitute the "Board of Managers," the Board of Managers initially shall be
         comprised of Donald Johnson, Larry Frascella, David Frascella, and James Carnes. The
         Managers each shall hold office until such Manager's successor is duly elected or until
         such Manager's earlier death, resignation or removal (as provided below). Managers
         need not be Members of the Company. Except as expressly limited by law, the Articles
         or this Agreement, the business of the Company shall be controlled and managed by the
         Board of Managers. The Board of Managers shall have and is vested with all powers and
         authorities, except as expressly limited by law, the Articles, or this Agreement, to do or
         cause to be done any and all lawful things for and in behalf of the Company, to exercise
         or cause to be exercised any or all of its powers, privileges and franchises, and to seek the
         effectuation of its objects and purposes.

                (b)      One member of the Board of Managers shall serve as "Chair." Larry
         Frascella shall initially serve as Chair until replaced by a majority vote of the Board of
         Managers.

                (c)    The Board of Managers may designate officers and persons to act on
         behalf of the Company as the Board of Managers determines from time to time. Any
         appointed officer shall serve at the pleasure of the Board of Managers and may be
         removed at the discretion of the Board of Managers.

                (d)    The Board of Managers shall have a compensation committee which shall
         be comprised of Larry Frascella and David Frascella, who shall serve as the "Chair" of
         the compensation committee. The compensation committee shall have the right to
         approve the hiring of any employee of the Company who is entitled to annual
         compensation (salary and bonus opportunity) in excess of$100,000 and shall approve the
         payment of any annual compensation (salary and bonus) to any employee in excess of
         $100,000. In addition, the compensation committee shall recommend to the Board of
         Managers, any equity grants to any employee and the Board of Managers shall vote on
         the compensation committee's recommendation. At all meetings of the compensation
         committee, all members of the committee then serving must be present to constitute a
         quorum for the transaction of business and the act of all of the members of the
         compensation committee shall be the act of the compensation committee.

               (e)     The Board of Managers may from time to time create additional
         committees of the Board, including an audit committee.

        5.2    Election of the Board of Managers. In electing the Managers, each Member
shall have the right to designate one (1) member of the Board of Managers. Vacancies on the



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Board of Managers shall be filled by the Member whose initial appointee is removed or resigns
as a member of the Board of Managers.

       5.3     Meetings of the Board of Managers; Place of Meetings. Meetings of the Board
of Managers shall be held at such times upon the call of any of the Managers. All meetings of
the Board of Managers shall be held at such time or place as shall be designated from time to
time by the Board of Managers and stated in the notice of the meeting or in a duly executed
waiver of the notice thereof. Managers may participate in a meeting of the Board of Managers
by means of conference telephone equipment or similar communications equipment whereby all
Managers participating in the meeting can hear each other and participation in a meeting in this
manner shall constitute presence in person at the meeting.

        5.4    Quorum; Voting Requirement. At all meetings of the Board of Managers, all of
the Managers then serving must be present to constitute a quorum for the transaction of business.
The act of a majority in number of the Managers present at any meeting of the Board of
Managers at which a quorum is present shall be the act of the Board of Managers. In the event a
majority in number of the Managers present does not vote for or against a particular act, the vote
of the Chair shall determine the outcome of such a spilt vote.

        5.5     Notice of Meeting. Notice of each meeting of the Board of Managers stating the
place, day and hour of the meeting shall be given to each Manager at least twenty-four (24) hours
before the time the meeting is to be held. The notice may be given by any Manager having
authority to call the meeting. "Notice" and "call" with respect to such meetings shall be deemed
to be synonymous.

        5.6     Waiver of Notice. Whenever any notice is required to be given to any Manager
under the provisions of this Agreement, a waiver thereof in writing signed by such Manager,
whether before or after the time stated therein, shall be deemed equivalent to the giving of such
notice. Attendance of a Manager at any meeting shall constitute a waiver of notice of such
meeting except where a Manager attends a meeting for the express purposes of objecting to the
transaction of any business because the meeting is not lawfully called or convened.

        5. 7    Action Without a Meeting. Any action that is required to be or may be taken at
a meeting of the Board of Managers may be taken without a meeting if consents in writing,
setting forth the action so taken, are signed (including through electronic acknowledgement of an
agreed to form of document) by all of the Managers. The consents shall have the same force and
effect as a vote at a meeting duly held.

       5.8     Compensation of Managers. Managers shall receive expense reimbursement for
reasonable out of pocket expenses for their service as such.

        5.9     Meetings of Members; Place of Meetings. Meetings of the Members shall be
held at such times upon the call of any Member. Meetings of the Members shall not be required
to be held on any regular frequency. Meetings of the Members may be held for any purpose or
purposes, unless otherwise prohibited by law or by the Articles. All meetings of the Members
shall be held at such time or place as shall be designated from time to time by the Members and
stated in the notice of the meeting or in a duly executed waiver of the notice thereof. Members


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may participate in a meeting of the Members by means of conference telephone or similar
communications equipment whereby all Members participating in the meeting can hear each
other and participation in a meeting in this manner shall constitute presence in person at the
meeting.

       5.10 Quorum; Voting Requirement. The presence, in person or by proxy, of a
Majority in Interest shall constitute a quorum for the transaction of business by the Members.
The affirmative vote of a Majority in Interest shall constitute a valid decision of the Members,
except where a larger vote is required by this Agreement.

        5.11 Proxies. At any meeting of the Members, every Member having the right to vote
thereat shall be entitled to vote in person or by proxy appointed by an instrument in writing
signed by such Member and bearing a date not more than three years prior to such meeting.

        5.12 Action Without Meeting. Any action required or permitted to be taken at any
meeting of the Members of the Company may be taken without a meeting if the action is
evidenced by one or more written consents setting forth the action to be taken and signed by
Members holding sufficient Membership Interests to approve such action at a duly held meeting
as set forth in Section 5.10 above. The consents shall have the same force and effect as a vote at
a meeting duly held.

        5.13 Notice of Meetings. Notice of a Meeting of the Members, stating the place, day,
hour and the purpose for which the meeting is called shall be given not less than two (2) business
days before the date of the meeting, by or at the direction of the Members calling the meeting, to
each Member entitled to vote at such meeting. A Member's attendance at a meeting: (a) waives
objection to lack of notice or defective notice of the meeting, unless such Member, at the
beginning of the meeting, objects to holding the meeting or transacting business at the meeting;
and (b) waives objection to consideration of a particular matter at the meeting that is not within
the purpose or purposes described in the notice of meeting, unless such Member objects to
considering the matter when it is presented.

        5.14 Waiver of Notice. When any notice is required to be given to any Member of the
Company hereunder, a waiver thereof in writing signed by the Person entitled to such notice,
whether before, at, or after the time stated therein, shall be equivalent to the giving of such
notice.

       5.15 Execution of Documents Filed with Department of State of Delaware and
Waiver of Receipt of Copy of Filed Documents. Any Member or Manager shall be authorized
to execute and file with the Secretary of State of Delaware any document permitted or required
by the Act. Such documents shall be executed and filed only after the Board of Managers (and
as necessary, the Members) have approved or consented to such action in the manner provided
herein. The Members hereby waive any requirement under the Act of receiving a copy of any
document filed with the Secretary of State of Delaware.

         5.16    Limitation of Liability; Indemnification.

                (a)     Limitation. No Person shall be liable to the Company or its Members
for any loss, damage, liability or expense suffered by the Company or its Members on account of

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any action taken or omitted to be taken by such Person as a Manager of the Company or by such
Person while serving at the request of the Company as a director, officer or in any other
comparable position of any Other Enterprise, if such Person discharges such Person's duties in
good faith, exercising the same degree of care and skill that a prudent person would have
exercised under the circumstances in the conduct of such prudent person's own affairs, and in a
manner such Person reasonably believes to be in the best interest of the Company. A Manager's
liability hereunder shall be limited only for those actions taken or omitted to be taken by such
Manager in the discharge of such Manager's obligations for the management of the business and
affairs of the Company. The provisions of this subsection are not intended to limit the liability of
any Manager for any obligations of such Manager undertaken in this Agreement in such
Manager's capacity as a Member.

                (b)      Right to Indemnification. The Company shall indemnify each Person
who has been or is a party or is threatened to be made a party to any threatened, pending or
completed action, suit or proceeding, whether civil, criminal, administrative, investigative or
appellate (regardless of whether such action, suit or proceeding is by or in the right of the
Company or by third parties) by reason of the fact that such Person is or was a Member (subject
to the limitation stated below in this Section 5.16(b)), or Manager of the Company, or is or was
serving at the request of the Company as a director, officer or in any other comparable position
of any Other Enterprise against all liabilities and expenses, including, without limitation,
judgments, amounts paid in settlement, attorneys' fees, excise taxes or penalties, fines and other
expenses, actually and reasonably incurred by such Person in connection with such action, suit or
proceeding (including, without limitation, the investigation, defense, settlement or appeal of such
action, suit or proceeding); provided, however, that the Company shall not be required to
indemnify or advance expenses to any Person from or on account of such Person's conduct that
was finally adjudged to have been knowingly fraudulent, deliberately dishonest or willful
misconduct; provided, further, that the Company shall not be required to indemnify or advance
expenses to any Person in connection with an action, suit or proceeding initiated by such Person
unless the initiation of such action, suit or proceeding was authorized in advance by the Board of
Managers; provided, further, that a Manager shall be indemnified hereunder only for those
actions taken or omitted to be taken by such Manager in the discharge of such Manager's
obligations for the management of the business and affairs of the Company and that the
provisions of this Section 5.16 are not intended to extend indemnification to any Manager for
any obligations of such Manager undertaken in this Agreement in such Manager's capacity as a
Member. The termination of any action, suit or proceeding by judgment, order, settlement,
conviction or under a plea of nolo contendere or its equivalent, shall not, of itself, create a
presumption that such Person's conduct was finally adjudged to have been knowingly fraudulent,
deliberately dishonest or willful misconduct.

              The indemnification provided in this Section 5.16(b) for a Member shall apply
only with respect to claims asserted by third parties not affiliated with the Company or any
Member.

              (c)      Enforcement of Indemnification. In the event the Company refuses to
indemnify any Person who may be entitled to be indemnified or to have expenses advanced
under this Section 5.16, such Person shall have the right to maintain an action in any court of
competent jurisdiction against the Company to determine whether or not such Person is entitled

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to such indemnification or advancement of expenses hereunder. If such court action is
successful and the Person is determined to be entitled to such indemnification or advancement of
expenses, such Person shall be reimbursed by the Company for all fees and expenses (including
attorneys' fees) actually and reasonably incurred in connection with any such action (including,
without limitation, the investigation, defense, settlement or appeal of such action).

                (d)     Advancement of Expenses. Expenses (including attorneys' fees)
reasonably incurred in defending an action, suit or proceeding, whether civil, criminal,
administrative, investigative or appellate, shall be paid by the Company in advance of the final
disposition of such action, suit or proceeding upon receipt of an undertaking by or on behalf of
such Person to repay such amount if it shall ultimately be determined that such Person is not
entitled to indemnification by the Company. In no event shall any advance be made in instances
where the Board of Managers or independent legal counsel reasonably determines that such
Person would not be entitled to indemnification hereunder.

               (e)      Non-Exclusivity. The indemnification and the advancement of expenses
provided by this Section 5.16 shall not be exclusive of any other rights to which those seeking
indemnification or advancement of expenses may be entitled under any statute, or any
agreement, vote of Members, policy of insurance or otherwise, both as to action in their official
capacity and as to action in another capacity while holding their respective offices, and shall not
limit in any way any right that the Company may have to make additional indemnifications with
respect to the same or different Persons or classes of Persons. The indemnification and
advancement of expenses provided by, or granted pursuant to, this Section 5.16 shall continue as
to a Person who has ceased to be a Member or Manager of the Company, and as to a Person who
has ceased serving at the request of the Company as a director, officer or in any other
comparable position of any Other Enterprise and shall inure to the benefit of the heirs, executors
and administrators of such Person.

                 (t)     Amendment and Vesting of Rights. Notwithstanding any other
provision of this Agreement, the terms and provisions of this Section 5.16 shall not be amended
or repealed and the rights to indemnification and advancement of expenses created hereunder
shall not be changed, altered or terminated except by the approval of the Class A Members. The
rights granted or created hereby shall be vested in each Person entitled to indemnification
hereunder as a bargained for, contractual condition of such Person's being or serving or having
served as a Member or Manager of the Company or serving at the request of the Company as a
director, officer or in any other comparable position of any Other Enterprise and, while this
Section 5.16 may be amended or repealed, no such amendment or repeal shall release, terminate
or adversely affect the rights of such Person under this Section 5.16 with respect to any act taken
or the failure to take any act by such Person prior to such amendment or repeal or with respect to
any action, suit or proceeding with respect to such act or failure to act filed after such
amendment or repeal.

                 (g)     Definitions. For purposes ofthis Section 5.16, references to:

                          (i)  The "Company" shall include, in addition to the resulting or
                 surviving limited liability company (or other entity), any constituent limited
                 liability company (or other entity) (including any constituent of a constituent)

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                 absorbed in a consolidation or merger so that any Person who is or was a member
                 or manager of such constituent limited liability company (or other entity), or is or
                 was serving at the request of such constituent limited liability company (or other
                 entity) as a director, officer or in any other comparable position of any Other
                 Enterprise shall stand in the same position under the provisions of this
                 Section 5.16 with respect to the resulting or surviving limited liability company
                 (or other entity) as such Person would if such Person had served the resulting or
                 surviving limited liability company (or other entity) in the same capacity;

                         (ii)    "fines" shall include any excise taxes assessed against a person
                 with respect to an employee benefit plan;

                        (iii)   "defense" shall include investigations of any threatened, pending
                 or completed action, suit or proceeding as well as appeals thereof and shall also
                 include any defensive assertion of a cross-claim or counterclaim; and

                         (iv)    "serving at the request of the Company" shall include any service
                 as a director, officer or in any other comparable position that imposes duties on,
                 or involves services by, a Person with respect to an employee benefit plan, its
                 participants, or beneficiaries; and a Person who acted in good faith and in a
                 manner such Person reasonably believed to be in the interest of the participants
                 and beneficiaries of an employee benefit plan shall be deemed to have acted "in
                 the best interest of the Company" as referred to in this Section 5.16.

                (h)      Severability. If any provision of this Section 5.16 or the application of
any such provision to any Person or circumstance is held invalid, illegal or unenforceable for any
reason whatsoever, the remaining provisions of this Section 5.16 and the application of such
provision to other Persons or circumstances shall not be affected thereby and, to the fullest extent
possible, the court finding such provision invalid, illegal or unenforceable shall modify and
construe the provision so as to render it valid and enforceable as against all Persons and to give
the maximum possible protection to Persons subject to indemnification hereby within the bounds
of validity, legality and enforceability.

        5.17 Other Business Ventures. Except as otherwise provided in this Section 5.17 or
otherwise by contract between a Member (or an affiliate or related party of such Member) and
the Company, the Members that are not employees of the Company (or affiliated with employees
of the Company) may engage in, or possess an interest in, other business ventures of every nature
and description, independently or with others, whether or not similar to or in competition with
the business of the Company, and neither the Company nor the Members shall have any right by
virtue of this Agreement in or to such other business ventures or to the income or profits derived
therefrom. Notwithstanding the foregoing, Donald Jonson may not engage in, or possess an
interest in, be employed by, consult with, provide services to, lend money to or be in any way
associated with any business or venture that competes with the Company; provided, however, the
may continue to provide services to those companies set forth on Schedule B.




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                                   ARTICLE VI
                          ACCOUNTING AND BANK ACCOUNTS

     6.1     Fiscal Year. The fiscal year and taxable year of the Company shall end on
December 31 of each year, unless a different year is required by the Code.

        6.2    Books and Records. At all times during the existence of the Company, the
Company shall cause to be maintained full and accurate books of account, which shall reflect all
Company transactions and be appropriate and adequate for the Company's business. The books
and records of the Company shall be maintained at the principal office of the Company. Each
Member (or such Member's designated representative) shall have the right during ordinary
business hours and upon reasonable notice to inspect and copy (at such Member's own expense)
all books and records of the Company.

        6.3    Financial Reports. Within thirty (30) days after the end of each fiscal year, there
shall be prepared and delivered to each Member: a balance sheet as of the end of such month or
year and related financial statements (including an income statement) for the month or year then
ended, along with a complete financial reporting package acceptable to the Members. Within
sixty (60) days after the end of each fiscal year, there shall be prepared and delivered to each
Member all information (including, without limitation, K -1 s) with respect to the Company
necessary for the preparation of the Members' Federal and state income tax returns.

        6.4     Tax Returns and Elections; Tax Matters Member. The Company shall cause
to be prepared and timely filed all Federal, state and local income tax returns or other returns or
statements required by applicable law. The Company shall claim all deductions and make such
elections for federal or state income tax purposes that the Board of Managers reasonably believe
will produce the most favorable tax results for the Members. James Carnes is hereby designated
as the Company's "Tax Matters Member," to serve with respect to the Company in the same
capacity as a "tax matters partner" as defined in the Code and the partnership representative for
tax years after 2017, and in such capacity is hereby authorized and empowered to act for and
represent the Company and each of the Members before the Internal Revenue Service in any
audit or examination of any Company tax return and before any court selected by the Members
for judicial review of any adjustment assessed by the Internal Revenue Service. James Carnes
does hereby accept such designation. The Members specifically acknowledge, without limiting
the general applicability of this Section, that the Tax Matters Member shall not be liable,
responsible or accountable in damages or otherwise to the Company or any Member with respect
to any action taken by it in its capacity as a "Tax Matters Member." All out-of-pocket expenses
incurred by the Tax Matters Member in the capacity of "Tax Matters Member" shall be
considered expenses of the Company for which the Tax Matters Member shall be entitled to full
reimbursement.

        6.5     Section 754 Election. In the event a distribution of Company assets occurs that
satisfies the provisions of Section 734 of the Code or in the event a transfer of Membership
Interests occurs that satisfies the provisions of Section 743 of the Code, upon the determination
of Class A Members or Board of Managers, the Company shall elect, pursuant to Section 754 of
the Code, to adjust the basis of the Property to the extent allowed by such Section 734 or 743 and
shall cause such adjustments to be made and maintained.


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      6.6    Bank Accounts. All funds of the Company shall be deposited in a separate bank,
money market or similar account(s) approved by the Board of Managers and in the Company's
name. Withdrawals therefrom shall be made only by persons authorized to do so by the Board of
Managers.

                            ARTICLE VII
   TRANSFERS AND ISSUANCES OF MEMBERSHIP INTERESTS; WITHDRAWAL

         7.1     Permitted Transfers.

               (a)     No Member shall have the right to Transfer (and to substitute the
assignee as a Substitute Member) any of such Member's Membership Interests without the
consent of the Board of Managers.

        7.2     Substitute Members. No assignee of all or part of a Member's Membership
Interests shall become a Member in place of the Transferor (a "Substitute Member") unless and
until:

                 (a)    The Transferor (if living) has stated such intention in the instrument of
assignment;

              (b)      The Transferee has executed an instrument accepting and adopting the
terms and provisions of this Agreement;

                (c)     The Transferor or Transferee has paid all reasonable expenses (including
legal fees) of the Company in connection with the admission of the Transferee as a Substitute
Member; provided that, except as expressly stated in this Agreement, the Transferor and
Transferee will be jointly and severally obligated for such expenses;

               (d)     If requested by the Company, the Transferee has provided, at his
expenses, a legal opinion that such assignment is in compliance with applicable securities laws;
and

             (e)     In the case of a Transferee of a Restricted Member, the Board of
Managers has approved the Transferee's admission as a Substitute Member.

Upon satisfaction of all of the foregoing conditions with respect to a Transferee, the Board of
Managers shall cause this Agreement to be duly amended to reflect the admission of the
Transferee as a Substitute Member.

        7.3    Effect of Admission as a Substitute Member. Unless and until admitted as a
Substitute Member pursuant to Section 7.2, a Transferee shall not be entitled to exercise any
rights of a Member in the Company, including the right to vote, grant approvals or give consents
with respect to such Membership Interests, the right to require any information or accounting of
the Company's business or the right to inspect the Company's books and records, but a
Transferee shall only be entitled to receive, to the extent of the Membership Interests transferred
to such Transferee, the Distributions to which the Transferor would be entitled. A Transferee
who has become a Substitute Member has, to the extent of the Membership Interests transferred

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to such Transferee, all the rights and powers of the Member for whom such Transferee is
substituted and is subject to the restrictions and liabilities of a Member under this Agreement and
the Act. Upon admission of a Transferee as a Substitute Member, the Transferor shall cease to
be a Member of the Company to the extent of such Membership Interests. A Person shall not
cease to be a Member upon assignment of all of such Member's Membership Interests unless and
until the Transferee becomes a Substitute Member.

        7.4     Additional Members and Membership Interests; Preemptive Rights. The
Company may issue additional Membership Interests only upon the approval of the Board of
Managers. In connection with any issuance of additional Class A Membership Interests in
accordance with this Agreement, the Class A Members shall have preemptive rights to purchase
their pro rata share, based on the relative ownership of Class A Membership Interests then
outstanding, of new Class A Membership Interests that the Company may from time to time
propose to sell or issue. This preemptive right shall not apply to the issuance of Class B
Membership Interests. Any issuance of additional Membership Interests shall dilute all Members
on a pro rata basis.

        7.5    Redemption of Membership Interests. Subject to this Agreement, Membership
Interests may be redeemed by the Company upon the agreement of the Board of Managers and
the holder of the Membership Interests to be redeemed. The Board of Managers shall cause
Schedule A to this Agreement to be amended to reflect any adjustment in Membership Interests.

         7.6     Company Call Rights .

                 (a)    Upon the death of a Member, the Company shall have the right, at its
         option, to call and purchase, and upon such call, the estate of such deceased Member
         shall have the obligation to sell to the Company, all of such deceased Member's Class A
         Membership Interests and Class B Membership Interests, as applicable, for an aggregate
         purchase price equal to the Fair Market Value of such Class A Membership Interests and
         Class B Membership Interests, as mutually determine by the Company and the estate of
         such deceased member or by the appraisal of a valuation firm that is mutually acceptable
         to the Company and the estate of the deceased Member.

                 (b)     If the Company's employment of Brent Morgan is terminated for Cause or
         if Mr. Morgan resigns from his employment with the Company, then the Company shall
         have the right, at its option, to call and purchase, and upon such call, Mr. Morgan shall
         have the obligation to sell to the Company, all of his Class A Membership Interests and
         Class B Membership Interests, as applicable, for an aggregate purchase price equal to the
         Fair Market Value of such Class A Membership Interests and Class B Membership
         Interests as reasonably determined in good faith by the Board of Managers. "Cause"
         means the occurrence of any of the following events, as reasonably determined by the
         Board of Managers of the Company: (i) the failure to perform such duties as are
         reasonably requested in good faith by the Board of Managers; (ii) gross negligence,
         recklessness or willful misconduct in the performance of duties; (iii) an act of dishonest,
         fraudulent or illegal conduct; (iv) the breach, by Mr. Morgan, of that certain Employment
         Agreement by and between the Company and Mr. Morgan, dated as of the date hereof;
         (v) the commission of violations of Company policy including, but not limited to,


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         policies on equal employment opportunity, non-discrimination, non-harassment, non-
         retaliation, and workplace violence; and (vi) the commission of violations of state or
         federal law or regulation in the performance of his duties to the Company.

                 (c)    If the Company has not realized (i) as of February 28, 2018, at least
         $250,000.00 in Net Income (as defined below) or (ii) as of February 28, 2019, at least
         $500,000.00 in Net Income, the Company shall have the right, at its option, to call and
         purchase, and upon such call and purchase, Mr. Morgan shall have the obligation to sell
         to the Company, all of his Class A Membership Interests. The aggregate purchase price
         upon exercise of such call shall be equal to four times the Net Income for the twelve
         calendar months completed prior to the date such call is exercised by the Company
         multiplied by Mr. Morgan's pro rata Membership Interest in the Company. Net Income
         shall mean the revenues of the Company less all expenses as reasonably determined by
         the Board of Managers; provided, however, that any amounts paid to Donald Johnson,
         Larry Frascella, David Frascella or James Carnes for services rendered to the Company
         or in the form of Distributions shall not be deducted form revenues for the purposes of
         calculating Net Income.

         7.7     Withdrawal. No Member shall be permitted to withdraw from the Company.

                                    ARTICLE VIII
                            DISSOLUTION AND TERMINATION

       8.1      Events Causing Dissolution. The Company shall be dissolved upon the first to
occur of the following events:

                 (a)    Upon the approval ofthe Board of Managers.

              (b)       Upon the entry of a decree of dissolution with respect to the Company by
a court of competent jurisdiction.

               (c)     When the Company 1s not the survtvmg entity m a merger or
consolidation under the Act.

        8.2     Effect of Dissolution. Except with respect to the occurrence of an event referred
to in Section 8.1 (c), and except as otherwise provided in this Agreement, upon the dissolution of
the Company, the Board of Managers shall take such actions as may be required pursuant to the
Act and shall proceed to wind up, liquidate and terminate the business and affairs of the
Company. In connection with such winding up, the Board of Managers shall have the authority
to liquidate and reduce to cash (to the extent necessary or appropriate) the assets of the Company
as promptly as is consistent with obtaining Fair Value therefor, to apply and distribute the
proceeds of such liquidation and any remaining assets in accordance with the provisions of
Section 8.3, and to do any and all acts and things authorized by, and in accordance with, the Act
and other applicable laws for the purpose of winding up and liquidation.

       8.3    Application of Proceeds. Upon dissolution and liquidation of the Company, the
assets of the Company shall be applied and distributed in the order of priority set forth in
Section 4.2.

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                                        ARTICLE IX
                                      MISCELLANEOUS

        9.1    Title to the Property. Title to the Property shall be held in the name of the
Company. No Member shall individually have any ownership interest or rights in the Property,
except indirectly by virtue of such Member's ownership of Membership Interests. No Member
shall have any right to seek or obtain a partition of the Property, nor shall any Member have the
right to any specific assets of the Company upon the liquidation of or any distribution from the
Company.

       9.2      Nature of Interest in the Company. Membership Interests shall be personal
property for all purposes.

        9.3      Notices. Any notice, demand, request or other communication (a "Notice")
required or permitted to be given by this Agreement or the Act to the Company, any Member, or
any other Person shall be sufficient if in writing and if hand delivered or mailed by registered or
certified mail to the Company at its principal office or to a Member or any other Person at the
address of such Member or such other Person as it appears on the records of the Company or sent
by facsimile transmission or electronic mail to the telephone number or e-mail address, if any, of
the recipient's facsimile machine or e-mail device as such telephone number or electronic mail
address appears on the records ofthe Company. All Notices that are mailed shall be deemed to
be given when deposited in the United States mail, postage prepaid. All Notices that are hand
delivered shall be deemed to be given upon delivery. All Notices that are given by facsimile
transmission or electronic mail shall be deemed to be given upon receipt, it being agreed that the
burden of proving receipt shall be on the sender of such Notice and such burden shall not be
satisfied by a transmission report generated by the sender's facsimile machine or e-mail device.

        9.4   Waiver of Default. No consent or waiver, express or implied, by the Company
or a Member with respect to any breach or default by another Member hereunder shall be
deemed or construed to be a consent or waiver with respect to any other breach or default by
such Member of the same provision or any other provision of this Agreement. Failure on the
part of the Company or a Member to complain of any act or failure to act of another Member or
to declare such other Member in default shall not be deemed or constitute a waiver by the
Company or the Member of any rights hereunder.

        9.5     No Third Party Rights. Except for a Person entitled to indemnity hereunder,
none of the provisions contained in this Agreement shall be for the benefit of or enforceable by
any third parties, including, but not limited to, creditors of the Company; provided, however, the
Company may enforce any rights granted to the Company under the Act, the Articles or this
Agreement.

        9.6    Entire Agreement. This Agreement, together with the Articles, constitutes the
entire agreement between the Members, in such capacity, relative to the formation, operation and
continuation of the Company. This Agreement will apply to any Membership Interests acquired
after the date hereof by the parties to this Agreement or by parties that have formally adopted
and agreed to abide by the terms of this Agreement.



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         9. 7    Amendments to Certificate of Formation and this Agreement.

              (a)     Except as otherwise provided herein, neither the Certificate of Formation
nor this Agreement shall be modified or amended in any manner other than by the written
agreement of a Majority in Interest at the time of such modification or amendment.

              (b)      This Agreement may be amended by the Board of Managers, without any
execution of such amendment by the Members, in order to reflect the occurrence of any of the
following events provided that all of the conditions, if any, contained in the relevant sections of
this Agreement with respect to such event have been satisfied:

                         (i)  an adjustment of the Membership Interests of the Company upon
                 the admission of an additional Member, issuance of additional Membership
                 Interests;

                        (ii)    the modification of this Agreement to comply with the relevant tax
                 laws pursuant to Sections 3.3 or 4.5(j) hereof; and

                        (iii)   the admission of a Substitute Member (Section 7.3 hereof).

        9.8    Severability. In the event any provision of this Agreement is held to be illegal,
invalid or unenforceable to any extent, the legality, validity and enforceability of the remainder
of this Agreement shall not be affected thereby and shall remain in full force and effect and shall
be enforced to the greatest extent permitted by law.

       9.9     Binding Agreement.           Subject to the restrictions on the disposition of
Membership Interests \herein contained, the provisions of this Agreement shall be binding upon,
and inure to the benefit of, the parties hereto and their respective heirs, personal representatives,
successors and permitted assigns.

       9.10 Headings. The headings of the Articles and Sections of this Agreement are for
convenience only and shall not be considered in construing or interpreting any of the terms or
provisions hereof.

         9.11 Counterparts. This Agreement may be executed in any number of counterparts,
each of which shall be deemed to be an original and all of which shall constitute one agreement
that is binding upon all of the parties hereto, notwithstanding that all parties are not signatories to
the same counterpart.

       9.12 Governing Law. This Agreement shall be governed by, and construed in
accordance with, the laws of the State of Delaware, without regard to conflicts of law principles.

        9.13 Remedies. In the event of a default by any party in the performance of any
obligation undertaken in this Agreement, in addition to any other remedy available to the non-
defaulting parties, the defaulting party shall pay to each of the non-defaulting parties all costs,
damages, and expenses, including reasonable attorneys' fees, incurred by the non-defaulting
parties as a result of such default. In the event that any dispute arises with respect to the
enforcement, interpretation, or application of this Agreement and court proceedings are instituted

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to resolve such dispute, the prevailing party in such court proceedings shall be entitled to recover
from the non-prevailing party all costs and expenses, including, but not limited to, reasonable
attorneys' fees, incurred by the prevailing party in such court proceedings.

     9.14 Waiver of Jury Trial. NO PARTY TO THIS AGREEMENT OR ANY
ASSIGNEE, SUCCESSOR, HEIR OR PERSONAL REPRESENTATIVE OF A PARTY
SHALL SEEK A JURY TRIAL IN ANY LAWSUIT, PROCEEDING, COUNTERCLAIM OR
ANY OTHER LITIGATION PROCEDURE BASED UPON OR ARISING OUT OF THIS
AGREEMENT OR ANY OF THE OTHER AGREEMENTS OR THE DEALINGS OR THE
RELATIONSHIP BETWEEN THE PARTIES. NO PARTY WILL SEEK TO CONSOLIDATE
ANY SUCH ACTION, IN WHICH A JURY TRIAL HAS BEEN WAIVED, WITH ANY
OTHER ACTION IN WHICH A JURY TRIAL CANNOT OR HAS NOT BEEN WAIVED.
THE PROVISIONS OF THIS SECTION HAVE BEEN FULLY DISCUSSED BY THE
PARTIES HERETO AND THESE PROVISIONS SHALL BE SUBJECT TO NO
EXCEPTIONS.   NO PARTY HERETO HAS IN ANY WAY AGREED WITH OR
REPRESENTED TO ANY OTHER PARTY HERETO THAT THE PROVISIONS OF THIS
SECTION WILL NOT BE FULLY ENFORCED IN ALL INSTANCES.

                                     [signature pages follow]




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       IN WITNESS WHEREOF, each of the parties has executed this Agreement as of the
day and year first written above.
                                            MEMBERS:


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                                            Do~
                                              .
                                               ~        ....           -~
                                                                UST:


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                                            DF FAMILY TRUST:


                                           ]). c: :)) ~ ~
                                            David Frascella, Trustee
                                                                                 :5    ';;> :< /;f/;7

                                            MELISSA C. CARNES REVOCABLE TRUST
                                            Uff/A 2~/2010:



                                            Melissa C. Carnes, Trustee




                                                    rent Morgan

                                            Its:     PreJ!de()+
                                                   --~----~~-------------------


                                            JEMS VENTURE CAPITAL, LLC

                                            By: -----------------------------
                                                Michael Schubiger

                                            Its: ------------------------------~




              [Signature Page to Arion Capital Management, LLC Operating Agreement]
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       IN WITNESS WHEREOF, each of the parties has executed this Agreement as of the
day and year first written above.
                                             MEMBERS:



                                             Donald Johnson




                                                                            2

                                            OF FAMILY TRUST:


                                            L C::Y~~
                                            David Frascella, Trustee
                                                                                  5


                                            MELISSA C. CARNES REVOCABLE TRUST
                                            Ulf/A 2/11/2010:



                                            Melissa C. Carnes, Trustee




                                                   . ADELTA RESEARCH, LLC

                                            By: ------------------------------
                                                Brent Morgan

                                            Its: - - - - - - - - - - - --------------
                                                                  CAPITAL, LLC




                                            Its:




              [Signature Page to Arion Capital Management, LLC Operating Agreement]
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                                                 SCHEDULE A
             Member              Capital Account           Benchmark Amount              Membership InterestS

Class A Members
Donald Johnson                        $0.00                           N/A                      28.00%

Larry Frascella                    $200,000.00                        N/A                      19.67%

David Frascella                       $0.00                           N/A                      19.67%

James Carnes                          $0.00                           N/A                      19.66%

JEMS Venture Capital, LLC             $0.00                           N/A                       5.00%

SigmaDelta Research, LLC              $0.00                           N/A                       8.00%

Class B Members




                                                           --;:-
TOTAL                                                                                           100%
lUll a




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                                           SCHEDULED


Brian LeBlanc
Professor Steven Levitt
William Hassert
Landeau Group
Grosjean, Mankodi
Fernando Luna
Carver Zeljko
Peter Wagner
Richard Docherty
William and Michelle Gross.




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                     Exhibit 3
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                                                             January 28th, 2019

Brent Morgan
Sigma Delta Research
6900 S. Sandpiper Ave.
Tucson, Arizona 85746

Dear Brent Morgan:

Your employment with Arion Capital Management LLC ("Arion") will be officially terminated
for cause on January 31, 2019, specifically because the company failed to reach the agreed upon
benchmarks contained in the operating agreement to which you are a signatory.

As you may recall Section 7.6(b) defines "cause" to include "the failure to perform such duties
as are reasonably requested in good faith by the Board of Managers". Arion incorporated
benchmarks into its operating agreement that were based in large part on your assessment of
what you could and could not do for the company as a Consultant. By signing that agreement
you agreed that these benchmarks were reasonable. Despite this, you failed to achieve these
goals in the time period to which you agreed.

Please review the confidentiality/non-disclosure obligations contained in your employment
agreement. According to this agreement, you are not permitted to disclose any company trade
secrets, practices, or methods of operation. Arion Capital Management LLC is entitled to take
legal action if it is revealed that you disclosed trade secrets during or after employment.
Further, please review the sections covering Non-Solicitation and Non-Competition both of
which continue for two years after your termination. Finally, please review the Transition of
Work section of the agreement which Arion may require you to perform.

As you are being terminated for cause, you will not receive severance payment for the remaining
balance of leave pay you have accumulated. As you have obtained health care benefits on your
own, no further premiums will be paid to you by Arion post termination. Your final paycheck
will be sent to you via wire transfer to the bank account previously identified by you.

In addition to termination, any equity you may hold in the Company is forfeited in accordance
with section 7.6(c) which reads:

       "If the Company has not realized (i) as of February 28, 2018, at least $250,000.00 in
       Net Income (as defined below) or (ii) as of February 28, 2019, at least $500,000.00
       in Net Income, the Company shall have the right, at its option, to call and purchase,
       and upon such call and purchase, Mr. Morgan shall have the obligation to sell to the
       Company, all of his Class A Membership Interests. The aggregate purchase price
       upon exercise of such call shall be equal to four times the Net Income for the twelve
       calendar months completed prior to the date such call is exercised by the Company
       multiplied by Mr. Morgan's pro rata Membership Interest in the Company. Net
       Income shall mean the revenues of the Company less all expenses as reasonably
       determined by the Board of Managers; provided, however, that any amounts paid to
       Donald Johnson, Larry Frascella, David Frascella or James Carnes for services
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       rendered to the Company or in the form of Distributions shall not be deducted form
       revenues for the purposes of calculating Net Income."

As the company has not realized any net income during the period in question, the purchase price
of your interests is the nominal amount of $1.00.

We ask that you return any and all computer equipment, company files, telephones and any other
items supplied by the Company by January 31,2019.
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                     Exhibit 4
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SG          Salmanson Goldshaw, P.C.
            TWO PENN CENTER
            1500 J.F.K. BLVD., SUITE 1230
            PHILADELPHIA, PA 19102
                                                                                   Michael J. Salmanson
                                                                                Direct Dial: 215-640-0594
            215-640-0593                                                       msalmans@salmangold.com
            Fax: 215-640-0596
             www.salmangold.com                                                        Scott B. Goldshaw
                                                                                Direct Dial: 215-640-0595
                                                                               goldshaw@salmangold.com
                                                                               Also admitted in NY & NJ

                                                                                       Diane M. Yandach
                                                                                Direct Dial: 215-640-0598
                                                                               dyandach@salmangold.com
                                                                                       Also admitted in NJ
                                                         July 8, 2021

       Arion Capital Management
       884 Town Center Drive
       Langhorne, PA 19047
       Attn: Larry Frascella

       By e-mail: larry.frascella@gmail.com (read receipt requested)

Dear Mr. Frascella:

Please be advised that we represent Brent Morgan in regard to his claims for compensation
pursuant to the Employment Agreement and Restrictive Covenants (At Will) dated February 14,
2017 (the “Employment Agreement”). Please allow this letter to serve as a formal demand for
wages pursuant to the Pennsylvania Wage Payment & Collection Law (WPCL).

As you are no doubt aware, Mr. Morgan is entitled to severance in the amount of $150,000.00
(“Base Salary) unless his employment were terminated for Cause, as defined in the separate
Operating Agreement. Cause in turn is defined as follows:

       the occurrence of any of the following events, as reasonably determined by
       the Board of Managers of the Company: (i) the failure to perform such
       duties as are reasonably requested in good faith by the Board of Managers;
       (ii) gross negligence, recklessness or willful misconduct in the performance
       of duties; (iii) an act of dishonest, fraudulent or illegal conduct; (iv) the
       breach, by Mr. Morgan, of that certain Employment Agreement by and
       between the Company and Mr. Morgan, dated as of the date hereof; (v)
       the commission of violations of Company policy including, but not
       limited to, policies on equal employment opportunity, non-discrimination,
       non-harassment, non­ retaliation, and workplace violence; and (vi) the
       commission of violations of state or federal law or regulation in the
       performance of his duties to the Company.

According to the termination letter of January 28, 2019, the Company only relied upon a single basis
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Larry Frascella
July 8, 2021
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for concluding that Mr. Morgan’s termination constituted cause, i.e., (i) the failure to perform such
duties as are reasonably requested in good faith by the Board of Managers. The company claimed that
this provision was triggered by Mr. Morgan’s failure to reach agreed-upon benchmarks into the
Operating Agreement. But even assuming, arguendo that Mr. Morgan was responsible for the
Company not reaching its benchmarks (a dispute of fact), the failure to reach such benchmarks does
not trigger the provisions of clause (i) in any event as a matter of law. As a result, the severance is due
and owing. Such severance constitutes “wages” within the meaning of the WPCL. Shaer v.
Orthopaedic Surgeons of Central Pennsylvania, Ltd, 2007 Pa. Super. 371, 938 A.2d 457 (Pa. Super.
2007).

In particular, four basic principles of contract construction compel the outcome that the severance
is due and owing. First, given that the definition of Cause is in the Operating Agreement, any
ambiguity will be construed against the Company, as Mr. Morgan was not the drafter of the
Agreement. But more critically, pursuant to the doctrine of noscitur a sociis, i.e., that when
describing a list of contractual provisions, any ambiguity in that list must be interpreted in the
context of the remainder of the list:
        The ancient maxim ' noscitur a sociis ' summarizes the rule that the meaning of words
        may be indicated or controlled by those words with which they are associated. Words
        are known by the company they keep." Commonwealth ex rel. Fisher v. Philip Morris,
        Inc., 4 A.3d 749, 756 n.9 (Pa.Cmwlth. 2010). The principle of noscitur a sociis is
        applied to "avoid ascribing to one word a meaning so broad that it is inconsistent with
        its accompanying words. . . ." Gustafson v. Alloyd Co., 513 U.S. 561, 575, 115 S.Ct.
        1061, 131 L.Ed.2d 1 (1995). Pursuant to this rule, " the meaning of a doubtful word
        may be ascertained by reference to the meaning of words associated with it." Ford
        Motor Company v. Unemployment Compensation Board of Review, 168 Pa.Super. 446,
        79 A.2d 121, 123 (Pa. Super. 1951).

S.A. v. Pittsburgh Public School District, 160 A.3d 940 (Pa.Cmwlth. 2017). Here, the subsections
all describe levels of intentional misconduct or gross negligence. Mere failure to reach
benchmarks without any finding of fault simply does not reach the same level of intentionality or
misconduct. Third, the “for cause” provision constitutes a de facto forfeiture provision which is
disfavored under Pennsylvania law, and which must be strictly construed. Kalina v. Eckert, 345
Pa. Super. 220, 497 A.2d 1385 (1985) Finally, the provision as a whole must be read to give
effect to each of its subparts, and cannot be read to make any language unnecessary. If a mere
failure to adequately perform is sufficient to trigger subparagraph (i), then (ii) is wholly
superfluous.

Should Mr. Morgan prevail in a suit under the WPCL, he would be entitled not only to the contractual
damages, but other damages as well. First, the WPCL provides for a mandatory award of attorneys’
fees and costs to a prevailing employee, Oberneder v. Link Computer Corp., 548 Pa. 201, 696 A.2d
148 (1977). which need not be in proportion to the claim (Indeed, I have on more than occasion
gotten an attorneys’ fee award under the WPCL in excess of the principal claim). David S. Reilly,
v. Philadelphia Electrical Equipment Company, Inc., 154 A.3d 853 (Pa.Super. 2016). Second, the
Court may impose a 25% liquidated damages award under the defendant proves, by clear and
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Larry Frascella
July 8, 2021
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convincing evidence, the existence of a good faith dispute as to the amount owed. Andrews v. cross
Atlantic Capital Partners, Inc. 2017 Pa. Super. 72; 158 A.3d 123 (Pa. Super. 2017).

In addition, the WPCL allows for personal civil and criminal liability under the broad definition of
“employer” under the Act. Under the law, any and all relevant “policy making” individuals can be
jointly and severally liable under the Act for any judgment. The determination of whether someone
can be liable is based on the decision not to pay; in this instance, the individual or individuals who
determined that Mr. Morgan was terminated “for Cause” and thus not entitled to severance pay. We
assume, at a bare minimum, that you are a policy maker for this purpose. Please advise whether
other individuals of the Company played a role in the “for Cause” determination, and if so, the role
they played, including whether a formal vote among the managers was taken. In the event that
others did play a role in the determination, we believe it appropriate for you to provide a copy of
this demand letter to each such individual, so that they may evaluate their own risk of liability for
the claim and respond appropriately.

I look forward to hearing from you either with a substantive response and/or, in the event that you
deny the demand, whether counsel for the Company is willing to accept service of a complaint
without formal service of process. In the interim, please place a litigation hold on all documents
reasonably likely to lead to the discovery of admissible evidence in a lawsuit, including but not
limited to all documents related to my client’s performance; all documents upon which the
Company and any potential defendants relied in determining that my client’s termination was “For
Cause” and any and all correspondence (including e-mails, texts or any other form of electronic
communication) between and among the relevant decision-makers relating to or memorializing the
decision to terminate my client “for Cause.”
Please provide a response within ten (10) business days of the date of this letter. If we do not hear
from you by then, we will assume you have no interest in an amicable resolution and will proceed
accordingly.


                                                     Sincerely,



                                                     Michael J. Salmanson
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                     Exhibit 5
8/10/2021                         Salmanson Goldshaw,
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                                                                                - WPCL DemandPage
                                                                                              for Severance
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                                                                                  Mike Salmanson <msalmans@salmangold.com>



  Re: Brent Morgan - WPCL Demand for Severance
  Larry Frascella <larry.frascella@gmail.com>                                                                Fri, Jul 16, 2021 at 5:20 PM
  To: Mike Salmanson <msalmans@salmangold.com>

    Mr.Salmanson,

    This email is in response to your letter to me dated July 8th 2021 whereby you make totally unsubstantiated claims
    of compensation due to Brent Morgan via Arion Capital Management.


    You may not be fully aware of your client’s actions (as well as his total lack of performance) that led to the final decision
    of terminating him.

    So, I have attached a screen shot of just one example that indicates the following and would be brought to bare in a
    court proceeding.

    1. Your client was caught lying numerous times about his progress and his conversations with LLC members

    2. Your client was afforded a substantial amount of added time to complete milestones of which he did not even come
    close to achieving.

    3. Your client, realizing his shortcomings proceeded to engage in classic passive aggressive behavior.


    Some not so good news...

    I have also attached the 2019 and 2020 tax returns for ACM.

    Inform your client that the company did not develop a profitable model (for its own client) to date.
    And as you can see it in $1.5M + in debt.
    It had no income. EVER.
    The company has failed thus far.

    And, there is a very high likelihood (80% chance) the company will be shuttered literally by the
    end of the month.

    So your timing is nothing short of interesting and your request is laughable.


    At the end of the day, no one that ACM have engaged with has been able to produce a winning model.

    So please tell your client not to take it to heart. This task is only for the most elite in multiple disciplines.

    In closing I would like you to know that I have never responded to a letter like this from an attorney.


    But I felt compelled to relay to you how ridiculous your claim is on ambiguity.


    You should be ashamed of yourself.


    Have a great weekend


    LF


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             On Jul 8, 2021, at 11:05 AM, Mike Salmanson <msalmans@salmangold.com> wrote:

             <WPCLdemandletter.pdf>




     3 attachments




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                                             108K




            2020 ARION CAPITAL MGMT TAX RETURNS.pdf
            677K
            2019 ARION CAPITAL MGMTTAX RETURNS.pdf
            580K




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